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1                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
2

3     UNITED STATES OF AMERICA,
                                                      Criminal Action
4                   Plaintiff,                        No. 21-00175

5     vs.                                             Washington, D.C.
                                                      March 20, 2023
6     ETHAN NORDEAN, JOSEPH R. BIGGS,                 1:40 p.m.
      ZACHARY REHL, ENRIQUE TARRIO and
7     DOMINIC J. PEZZOLA,

8                 Defendants.
      _______________________________________________________________
9

10                   TRANSCRIPT OF THE JURY TRIAL - DAY 51
                               AFTERNOON SESSION
11                   BEFORE THE HONORABLE TIMOTHY J. KELLY,
                          UNITED STATES DISTRICT JUDGE
12

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5       Proceedings recorded by mechanical stenography, transcript
        produced by computer-aided transcription
6     DEFENSE WITNESSES                                          PAGE

7          Continued Direct Examination By Mr. Smith                             4

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9          Direct Examination By Mr. Jauregui                                 14546

10         Cross Examination By Mr. Mulroe                                      40

11         Redirect Examination By Mr. Smith                                  14660

12    GOVERNMENT EXHIBITS                                                     ADMIT

13    409B                                                                    14649

14    480W                                                                    14645

15    501N2                                                                   14630

16    501N3                                                                   14654

17    503N1                                                                   14620

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1           (Whereupon, the jury enters the courtroom and the following

2     proceedings were had:)

3                  DEPUTY CLERK:    We're back on the record in criminal

4     matter 21-175, United States of America versus Ethan Nordean,

5     et al.

6                  THE COURT:    All right.    Let's bring the witness back.

7                  Mr. Smith, you may continue, sir.

8                  MR. SMITH:    Thank you, your Honor.

9                  (TRAVIS NUGENT, DEFENSE WITNESS, PREVIOUSLY SWORN.)

10                            CONTINUED DIRECT EXAMINATION

11    BY MR. SMITH:

12    Q.    Good afternoon, Mr. Nugent.

13    A.    Afternoon.

14    Q.    I'm just going to orient you to where we left off before

15    lunch.    I asked you a question about a conversation at the food

16    trucks.

17          Sorry, Mr. Nugent, can you hear me still?

18    A.    Yes.

19    Q.    So I asked you a question about the food trucks.              Remember

20    the video we saw where the group marching or standing out near

21    the food trucks?

22    A.    Yes.

23    Q.    I asked you about a conversation where some members of the

24    group wanted to head back to the hotels and some wanted to move

25    on.   Do you remember that?
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1     A.   Yeah.

2     Q.   And you said the folks that wanted to go back to the hotels

3     maybe explained that they were hung over?

4     A.   Correct.

5     Q.   You said among those that wanted to go back to the hotels

6     was Mr. Nordean?

7     A.   Correct.

8     Q.   And then we watched a video clip of the scene outside the

9     first barrier in the traffic circle, where some jumped over the

10    barrier.     Do you remember that one?

11    A.   Correct.

12    Q.   I think you testified that it seemed like a spontaneous

13    occurrence to you?

14    A.   Yes.

15    Q.   Would you say those people outside that first barrier in

16    the traffic circle were or were not acting with a herd

17    mentality?

18                GOVERNMENT COUNSEL:     Object to foundation.

19                THE COURT:    Sustained.

20    BY MR. SMITH:

21    Q.   So is there something about your particular experience,

22    your work experience, that would lead you to compare a group of

23    people to a herd?

24    A.   No, not my work experience but...

25    Q.   I'll let you finish the sentence.
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1     A.   My farm.

2     Q.   Your farm?

3     A.   Yeah.

4     Q.   What do you have on your farm?

5     A.   Cows and pigs and chickens and everything.

6     Q.   Was there something about that scene outside the barrier

7     that led you to believe that the people were kind of like the

8     cows and pigs and chickens you raise?

9     A.   Yeah, just herd mentality starts moving in a direction,

10    everybody starts moving.

11    Q.   So when you were marching towards the Capitol on

12    January 6th, did you understand that the purpose of the march

13    was to use force against people inside the Capitol building?

14                GOVERNMENT COUNSEL:     Object to foundation.

15                THE COURT:    Sustained as to foundation.

16    BY MR. SMITH:

17    Q.   So I think you testified that you were next to Mr. Nordean

18    and Biggs for much of the march towards the Capitol?

19    A.   Correct.

20    Q.   And you were having conversations with them along the way?

21    A.   I wouldn't say conversations, but just bits and pieces.

22    There was so much going on.

23    Q.   Were you in close proximity for much of the march?

24    A.   Yes.

25    Q.   Did you understand that the reason you were marching
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1     towards the Capitol was to use force against people inside the

2     Capitol?

3     A.   That's not correct.

4     Q.   Why is that not correct?

5     A.   Because there was never any discussion about using force

6     against anybody who might be at the Capitol.

7     Q.   Would that include police officers?

8     A.   Not using force against police officers?

9     Q.   Correct.

10    A.   Yes, right.

11    Q.   You testified earlier that you were a member of the Boots

12    on the Ground and MOSD chat groups?

13    A.   Correct.

14    Q.   So what I want to do is look at a few bits and pieces of

15    the march, as it was videotaped.        Do you know someone named

16    Eddie Block?

17    A.   I do.

18    Q.   Who is Eddie Block?

19    A.   A Proud Boy from California.

20    Q.   And do you understand that Eddie Block was filming the

21    group that day?

22    A.   Yes.

23    Q.   So I'm going to bring up what's been marked as Nordean

24    Exhibit 301.     It's in evidence.     And I'm at the 21 minutes and

25    22 seconds mark.
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1          (Whereupon, the exhibit was published in open court.)

2     Q.   So do you recognize this building that's in the middle

3     ground there, that I've drawn a yellow line under?

4     A.   Yes.

5     Q.   What's that?

6     A.   The Washington Monument.

7     Q.   Okay.   And I'm just going to draw a circle around two

8     people right here.      The one on the left, who was that?

9     A.   Myself.

10    Q.   And the one with the kind of -- I don't want to say

11    balding, but gray hair, black glasses, neck gaiter?

12    A.   It appears to be Joe Biggs.

13    Q.   Does this accurately reflect you waiting around near the

14    Washington Monument before the group starts marching?

15    A.   Yes.

16    Q.   Okay.   And it appears you're standing next to Joe Biggs

17    there?

18    A.   Yes.

19    Q.   So I'm just going to move on to a second part of the march.

20    I'm going to go to Nordean 301, 57 minutes and 28 seconds.

21         (Whereupon, the exhibit was published in open court.)

22                DEFENSE COUNSEL:    If we can bring that up.         Start it

23    at Nordean 301 57 minutes and 9 seconds.           It's difficult --

24    I'll let this play for a bit.

25         (Whereupon, the exhibit was published in open court.)
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1     BY MR. SMITH:

2     Q.   So I'm drawing a yellow circle around someone right there.

3     Is that you?

4     A.   Yes.

5     Q.   You appear to be facing a group of people?

6     A.   Yes.

7     Q.   And does this group of people that you're facing in this

8     clip, does it appear to be the group of people that's marching

9     towards the Capitol?

10    A.   I mean, I'm not sure.

11    Q.   I'll let it play for a minute here.

12         (Whereupon, the exhibit was published in open court.)

13    BY MR. LEFT 1:

14    Q.   Now, I'm going to focus your attention between these two

15    bodies right there.      I've drawn a circle around another figure

16    with a black backwards baseball cap.         You see that?

17    A.   Yes.

18    Q.   Who does that appear to be?

19    A.   Ethan.

20    Q.   Is he also facing the group of people?

21    A.   It appears so.

22    Q.   Let that play a second.

23         (Whereupon, the exhibit was published in open court.)

24    BY MR. SMITH:

25    Q.   Just a second ago, there was another figure right there.
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1     I'll draw a circle around that one.           It looks like he was

2     wearing a backpack, and he's wearing an Army fatigue baseball

3     cap.    Do you see that?

4     A.   Yes.

5     Q.   Do you know who that is?

6     A.   I do not for sure.

7     Q.   Does he appear to be facing the crowd too?

8     A.   He does.

9     Q.   So right now it appears that there's -- in our view right

10    here, there's three people who might be facing the crowd of

11    marchers here.      It would be -- I think that's Ethan Nordean

12    I've drawn a line next to, right?

13    A.   Correct.

14    Q.   Then there was one that you couldn't identify?

15    A.   Correct.

16    Q.   And then there was you right here, right?

17    A.   Correct.

18    Q.   And then there might be somebody else who looks like

19    they're standing sideways.        I just drew a circle around them.

20    Okay.

21    A.   Yeah.

22    Q.   Okay.    So I'm just going to bring this down and go to

23    another part of the march here.         So I'm going to go to

24    Nordean 301 at 1 hour, 6 minutes and 51 seconds.

25                MR. SMITH:     Bring that back up, Ms. Harris.         Thank
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1     you.

2          (Whereupon, the exhibit was published in open court.)

3     BY MR. SMITH:

4     Q.   Now, let's bring this back one second here.            This person

5     right here, who's that?

6     A.   Ethan.

7     Q.   And do you know who's walking next to him?

8     A.   Myself.

9     Q.   And then do you see that -- there's another -- the

10    individual with the tan -- the Army fatigue cap we were looking

11    at before?

12    A.   Yeah.

13    Q.   Does it appear that you, Ethan and that other individual

14    are walking at the lead of the group here?

15    A.   Yes.

16    Q.   Okay.    So I'm going to bring that one down and just jump

17    forward a little bit ahead in time to 1 hour, 13 minutes and

18    6 seconds.     Bring that up.

19         (Whereupon, the exhibit was published in open court.)

20    BY MR. SMITH:

21    Q.   So here we have the figure with the fatigue hat again,

22    right?

23    A.   Right.

24    Q.   Do you recognize him from that angle?

25    A.   I don't know his name for sure.         I recognize him as an
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1     individual but not the name.           I don't know his name for sure.

2     Q.   Did you see him walking with the -- in close contact with

3     Joseph Biggs and Ethan Nordean on the 6th?

4     A.   I mean, I don't recall him in particular.

5     Q.   Okay.    And then I'm going to just draw one more circle

6     around someone else.       Who's that?

7     A.   It appears to be myself.

8     Q.   Does it appear that you, Joseph Biggs and the man with the

9     fatigue hat are, again, facing the crowd of people walking

10    towards the Capitol building in the background?

11    A.   Yeah, it would appear.

12               MR. SMITH:     Okay.   Play that for a second.

13         (Whereupon, the exhibit was published in open court.)

14    BY MR. SMITH:

15    Q.   So that would be you right there?

16    A.   Correct.

17    Q.   And I've drawn around a circle on someone else.               That's

18    Joseph Biggs?

19    A.   Correct.

20    Q.   And then we could see the -- we can sort of tell where we

21    are at this point in the march because we can see the Capitol

22    in the background right there.

23         I've gone back to 1 hour, 16 minutes and 44 seconds, and

24    I'm circling the building.        You can see that?

25    A.   Yes, correct.
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1     Q.   I'm just going to jump forward in time a little bit.                Go to

2     1 hour, 18 minutes and 5 seconds.

3                MR. SMITH:     Bring this one up here.        Thank you,

4     Ms. Harris.     I'm going to let this play.

5          (Whereupon, the exhibit was published in open court.)

6     BY MR. SMITH:

7     Q.   Now, it looks here that there's a large group of marchers

8     under the arrow I've drawn, right?

9     A.   Correct.

10    Q.   It looks like they're facing a group of people standing on

11    the grass in the middle ground there, right?

12    A.   Yes, correct.

13    Q.   There's a group of people standing in the circle I've just

14    drawn?

15    A.   Correct.

16    Q.   One of them is -- who's that I've drawn a line next to?

17    A.   Ethan.

18    Q.   Okay.    And the one I've drawn -- I'll draw another circle

19    right there.

20    A.   That would be myself.

21    Q.   Okay.    And this is -- I've drawn around circle around

22    someone else.

23    A.   It appears to be Biggs.

24    Q.   Now, would you say that Mr. Biggs -- I've drawn a line

25    there -- Mr. Nordean were leading this group of people?
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1     A.   Yes.

2     Q.   And in this photograph, can you tell that they're leading

3     the group of people?

4     A.   I mean, I would assume it would appear to be that way,

5     yeah.

6     Q.   Because the -- they are in a group of people, a smaller

7     group of people, facing the large body of people?

8     A.   Yeah.

9     Q.   And you indicated that you were one of those people in that

10    group, right?

11    A.   Right.

12    Q.   Okay.

13                MR. SMITH:     I'm going to go now to a point closer in

14    time at the Capitol, 1 hour, 35 minutes and 31 seconds.                   I'll

15    let this play here, Ms. Harris.         Thank you.

16         (Whereupon, the exhibit was published in open court.)

17    BY MR. SMITH:

18    Q.   Before I start playing, can you see that I've drawn a

19    circle around the Capitol building right there?

20    A.   Yes.

21    Q.   Does it appear that we're closer in time now to the Capitol

22    than we were in the clips we showed before?

23    A.   Yes.

24                MR. SMITH:     I'm just going to let this play for a

25    second.     Actually --
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1     BY MR. SMITH:

2     Q.   So I've drawn a line in a circle -- I've drawn a circle

3     around two people that appear to be on a different level than

4     the crowd on the ground, right?

5     A.   Right.

6     Q.   They're standing above them?

7     A.   Yes.

8     Q.   Okay.    And who is the person I've drawn a line next to

9     there with a megaphone?

10    A.   That's Ethan.

11    Q.   Who is the person standing next to Ethan?

12    A.   Myself.

13    Q.   And, again, if you can tell from this posture, does it

14    appear that this group of people standing on the upper level is

15    directing the crowd that's facing them?

16    A.   I believe they were setting up for a picture at that point

17    in time.

18    Q.   Okay.    Okay.

19                MR. SMITH:     Let's bring that down.

20    BY MR. SMITH:

21    Q.   So now I'm going to bring us closer to the Capitol at

22    1 hour and 50 minutes and 40 seconds.

23                MR. SMITH:     Ms. Harris, permission to publish that one

24    more time.     Thank you.

25         (Whereupon, the exhibit was published in open court.)
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1     BY MR. SMITH:

2     Q.   So here we have a small group of people who appear to be in

3     conversation here, right?

4     A.   Yes.

5     Q.   And who was that one I've drawn the line next to?

6     A.   It appears to be Biggs.       It's kind of a dark image.

7     Q.   I've drawn another line.           Who does that appear to be?

8     A.   Ethan.

9     Q.   Do you know who this individual is with a ponytail?

10    A.   I can't be sure of his name, but I do recognize him as an

11    individual.

12    Q.   Do you recognize him because, on the march, this individual

13    with the ponytail was in close proximity to Mr. Biggs and

14    Mr. Nordean?

15                GOVERNMENT COUNSEL:         Object to leading.

16                MR. SMITH:     I can ask him why he recognizes that.

17                THE COURT:     Sustained -- overruled.          The objection is

18    overruled.

19                MR. SMITH:     Okay.

20    BY MR. SMITH:

21    Q.   So why do you recognize the individual with the ponytail?

22    A.   Because he was with us that day and I'd seen him at other

23    events.

24    Q.   When you say "us," do you mean just the crowd, generally,

25    or do you mean the group of people I've drawn a circle around?
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1     A.   I mean, I would say both.         I mean, with the smaller group

2     as well, just generally.

3     Q.   When you say "the smaller group," are you referring to the

4     group that I'm drawing a circle around here?

5     A.   Yeah.    At this particular time, yeah.             This group, yeah,

6     that you're drawing a circle around.

7     Q.   What would you call that group, if anything?

8     A.   Proud Boys.

9     Q.   The group in the circle?

10    A.   Yeah.

11    Q.   So I've drawn a final line right there.              Can you tell from

12    the hat and the baseball cap here -- I can let it keep playing

13    for a second, but can you tell from that cap who that is?

14    A.   That's my hat.

15    Q.   So does it appear right here that you're in some sort of

16    conversation with Mr. Nordean, Mr. Biggs and the individual

17    with the ponytail?

18    A.   I mean, it would appear that way, I guess.

19    Q.   I'll let it play for a second.

20         (Whereupon, the exhibit was published in open court.)

21    BY MR. SMITH:

22    Q.   Were you able to see how Mr. Nordean was pointing in a

23    certain direction?

24    A.   Right.

25    Q.   Did it appear you were pointing as well?
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1                 MR. SMITH:     I'll just go back here for one second.

2                 This is a very long video.

3                 I'm going to move on to the next clip, so we don't

4     hold this up.

5     BY MR. SMITH:

6     Q.   So I'm going to go to Nordean Exhibit 345 and ask if you

7     recognize this scene.        It's Nordean 345, item G1085.           This is

8     in evidence.

9          I'll publish this to the jury.

10         (Whereupon, the exhibit was published in open court.)

11    BY MR. SMITH:

12    Q.   So now, I think -- can you see this image, Mr. Nugent?

13    A.   Yes.

14    Q.   We appear to be, in this image, even closer still to the

15    Capitol at this point, right?

16                GOVERNMENT COUNSEL:         Object to leading.

17                THE COURT:     Sustained.

18    BY MR. SMITH:

19    Q.   Do we appear to be closer to the Capitol in this image than

20    in the earlier photos we were looking at?

21    A.   Yeah, correct.

22    Q.   Okay.    And, again, I've drawn a circle around someone with

23    a black neck gaiter.        Who is that?

24    A.   Myself.

25    Q.   And who appears to be standing next to you at the yellow
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1     line I've just drawn there?

2     A.   Joe Biggs.

3     Q.   Again, he is the individual with the Army-colored hat?

4     A.   Correct.

5     Q.   It appears -- I think you testified that you were in close

6     company with Mr. Nordean for much of the march?

7     A.   Correct.

8                 GOVERNMENT COUNSEL:         Object to leading.

9                 THE COURT:     Overruled.

10    BY MR. SMITH:

11    Q.   And that would include -- were you also or were you not

12    also in close company with Mr. Biggs during the march?

13    A.   Yes.

14    Q.   So I'm just going to let this clip play for a second here.

15         (Whereupon, the exhibit was published in open court.)

16    BY MR. SMITH:

17    Q.   Now, were you watching yourself in that clip?

18    A.   Yes.

19    Q.   And did it appear to you or did it not appear that you were

20    gesturing with your hand?

21    A.   I was.

22    Q.   And do you see where you're gesturing right now?

23    A.   Correct.

24    Q.   What direction was that -- is that?

25    A.   That would have been back towards the Washington Monument.
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1     Q.   Were you able to hear yourself say, "We're heading back,"

2     or were you not able to hear that?

3     A.   Yeah, it appeared that I was questioning whether or not we

4     were heading back after we went around the other side.

5     Q.   And when you were referencing "heading back," you meant

6     where?

7     A.   I can't be for sure, but I would assume back towards, like,

8     the Washington Monument or the White House or the rally that

9     was happening at the White House.

10    Q.   Why would you assume that?

11    A.   Because, I mean, that's just -- that's kind of what the

12    plan was, is we were there to, like, kind of stick up for

13    people.    So be around the rally.

14    Q.   And by "the rally," you mean the one that was -- do you

15    mean the one that was on the Ellipse, or do you mean some other

16    rally?

17    A.   I'm not sure what the Ellipse is, but that Trump was

18    having.

19    Q.   You testified that that was your understanding of the plan

20    for the march?

21    A.   What do you mean as far as --

22    Q.   Well, you testified that you assumed that you were pointing

23    back to the rally because that's your understanding of the plan

24    for the march, was to come down here towards the Capitol and

25    then head back to the rally?
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1     A.   Watching the clip, it appears that I'm kind of trying to

2     get confirmation as to that's what the plan was.

3     Q.   And that was, at the time, your understanding of the plan?

4     A.   Correct.

5     Q.   Okay.    Now, we'll go a little bit further here.              We'll go

6     to Government Exhibit 492FX.            And this is in evidence.

7          Give me one second here, I'm sorry.             It's a lot of

8     exhibits.     Okay.     I'm going to put this up.

9          (Whereupon, the exhibit was published in open court.)

10    BY MR. SMITH:

11    Q.   And I'm going to go to -- I'm going to go to -- I'm going

12    to pause this for a minute and go to 34 seconds here.

13         Now, Mr. Nugent, earlier we talked about that scene at the

14    traffic circle where the people that were protesting there

15    started going over the barriers, right?

16    A.   Right.

17    Q.   Did there come a time when you -- after people walked past

18    the barriers, they moved closer to the Capitol building?

19    A.   Can you repeat that question?

20    Q.   Do you remember that scene outside the protest -- the

21    traffic circle with people -- the protesters were standing

22    around and then, all the sudden, you said it was "spontaneous."

23    That people started going over the barriers?

24    A.   Correct.

25    Q.   Did that group of people then move closer to the Capitol
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 22 of 216    14530




1     building?

2     A.   Yes.    I believe they were kind of going all the way up to

3     the steps.

4     Q.   Up the steps, you said?

5     A.   Yeah.

6     Q.   So I'm just going to draw two circles right here.              And I've

7     drawn a line above one.

8          Who is that, I've drawn in the circle, with the backwards

9     baseball cap?

10    A.   Ethan.

11    Q.   Ethan Nordean?

12    A.   Correct.

13    Q.   And then I've drawn a second circle right here and a line

14    right there.     And who is that?

15    A.   Myself.

16    Q.   And is that your hand touching Mr. Nordean's back?

17    A.   Yes, it appears to be.

18    Q.   Why are you touching his back there?

19    A.   Just looking at it, it appears that we're trying to make

20    sure to stay together in the crowd.

21    Q.   Why would you want to stay together?

22    A.   I can't be for sure, to an exact reason for that.              But

23    we're there together, so...

24    Q.   Were you -- did you grab his hand -- or his back as part of

25    a plan?
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1     A.   No.

2     Q.   Did you grab his back because you understood this was

3     something called a "stack formation"?

4     A.   No.

5     Q.   Okay.    You never had a conversation with Mr. Nordean about

6     a stack formation?

7     A.   No.

8     Q.   I'm going to bring up what's been marked as Government

9     Exhibit 492G, and I'm going to go to 21 minutes and 15 seconds.

10         I'll publish it there.

11         (Whereupon, the exhibit was published in open court.)

12    BY MR. SMITH:

13    Q.   Can you see that image, Mr. Nugent?

14    A.   I can.

15    Q.   Does it appear to you that we are -- in this image, do we

16    look like we're closer to the Capitol building at this point?

17    A.   Yes.

18    Q.   Can you tell that from this -- can you see these like --

19    this scaffolding in the background there?

20    A.   Yes.

21    Q.   Do you remember standing close to the Capitol like this?

22    A.   Yes.

23    Q.   I'm just going to draw circles right here.            Again, this is

24    you, right, that I've drawn a line next to?

25    A.   Correct.
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1     Q.   And this is Mr. Nordean?

2     A.   Yes.

3     Q.   Do you recall being close to Mr. Nordean, at this point in

4     time, when you're near the Capitol building?

5     A.   I mean, yes.       But details behind that, I don't know.

6     Q.   We can get to that.

7          I'm going to draw a circle around one more person right

8     here.    Do you see that person?

9     A.   Yes.

10    Q.   Who is that?

11    A.   I'm not sure.

12    Q.   Did you see him on the march?

13    A.   I don't recall.

14    Q.   So keeping in mind what we were just looking at, you

15    testified you remember being there next to the steps, right?

16    A.   Correct.

17    Q.   Okay.    I'm going to bring up Nordean Exhibit 317 --

18    actually, rather, first I'm going to bring up Government

19    Exhibit 452.     Apologies.

20         And I'm going to go to 1 minute and 18 seconds.              And I'll

21    publish that.

22         (Whereupon, the exhibit was published in open court.)

23    BY MR. SMITH:

24    Q.   Now, Mr. Nugent, can you see how I'm drawing a circle

25    around the scaffolding?
     Case 1:21-cr-00175-TJK    Document 721     Filed 03/23/23   Page 25 of 216   14533




1     A.   Yes.

2     Q.   Does this appear to be the same scaffolding we were looking

3     at in the last image?

4     A.   It appears, yes.

5     Q.   Can you see Mr. Nordean?           I've circled him in yellow there.

6     A.   I can.

7     Q.   Now, I'm going to draw another circle around somebody

8     wearing a blue jacket.        Do you see that?

9     A.   Yes.

10    Q.   Do you know who that person is?

11    A.   No, not for sure.

12    Q.   I'm going to play this for a second for you and ask you if

13    you saw this.

14         (Whereupon, the exhibit was published in open court.)

15    BY MR. SMITH:

16    Q.   Do you see -- I'll ask you whether you saw something there.

17    I'll play that again.

18         (Whereupon, the exhibit was published in open court.)

19    BY MR. SMITH:

20    Q.   I'm going to ask you to watch the interaction of

21    Mr. Nordean and the person in the blue jacket here.

22                GOVERNMENT COUNSEL:         Your Honor, I'd object to 403

23    cumulative, to the extent he's asking the witness to describe

24    videos that don't depict his own conduct.

25                THE COURT:     For now, overruled.
     Case 1:21-cr-00175-TJK   Document 721     Filed 03/23/23   Page 26 of 216   14534




1     BY MR. SMITH:

2     Q.   Can you watch those two figures, Mr. Nordean and the person

3     in the blue jacket?

4          (Whereupon, the exhibit was published in open court.)

5     BY MR. SMITH:

6     Q.   Did it appear that he grabbed him there?

7     A.   It did appear that way.

8     Q.   Do you recall seeing Mr. Nordean stopping some protesters

9     when they were confronting the police?

10    A.   Not stopping any one individual, but I did see him marching

11    between the people and the police, kind of keeping, like, a

12    buffer zone between the police and --

13    Q.   Let me clarify something.         Do you recall that or are you

14    just saying what you saw in this video?

15    A.   No.   I recall him -- this particular scene, I don't recall.

16    Q.   Right.

17    A.   But I recall him marching.         He was kind of going back and

18    forth between the police and the protesters.

19    Q.   And what was your -- what was he doing?

20               GOVERNMENT COUNSEL:         Object to foundation.

21               THE COURT:     Overruled as to the question, what was he

22    doing?

23    BY MR. SMITH:

24    Q.   What was he doing?

25    A.   I can't be for sure, what he was doing.              I didn't really
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 27 of 216   14535




1     get a clear conversation or anything, but I perceived he was

2     trying to keep that peace between, you know, having people

3     attack officers.

4     Q.   Having people attack officers and who, the crowd?

5     A.   The crowd attacking officers, yeah.

6     Q.   So there came a time when you -- well, did you go inside

7     the building?

8     A.   No.

9     Q.   Did you leave?

10    A.   I did leave.

11    Q.   About when -- relative to the scene we saw there,

12    approximately, how long were you there before you left?

13    A.   I can't be for certain, but I would say maybe within a half

14    hour of that or so.       That's -- as far as time goes, that's

15    really hard to determine.

16    Q.   And did you speak to Mr. Nordean before you left?

17    A.   We never really had a conversation, but I did go up and say

18    something to him.       I don't remember -- I don't remember if

19    there was a lot of back and forth to that.

20    Q.   What did you say to him, if you remember?

21    A.   I told him that we should probably be getting out of here

22    and this wasn't a good idea.

23    Q.   And did you say that you can remember if he said something,

24    or if he didn't say something?

25    A.   I don't remember that he said anything.            I mean, I don't
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23     Page 28 of 216   14536




1     even know that he heard me, for sure, with everything going on.

2     Q.   Now, at that point, we just saw video of you and

3     Mr. Nordean standing next to each other, right?

4     A.   Correct.

5     Q.   Do you know -- do you recall whether any of the members of

6     the marching group had already gone on forward at that point,

7     beyond where you and Mr. Nordean were standing?

8     A.   I don't know for sure.      Are we back to the fountain?

9     Q.   That's a good question.      Let me just -- I'll bring it up to

10    you again, so you can just -- this is Government

11    Exhibit 452F -- 452 at 1 minute and 20 seconds.               I'm just going

12    to go to 1 minute and 18 seconds.

13         So you remember we looked at two videos and we saw the

14    scaffolding in the background?

15    A.   Correct.

16    Q.   And so I'm asking you about roughly, this point in time,

17    how long you think you were there before you decided to leave?

18    A.   I mean, I don't know exactly when this happened, but I

19    would say a half hour, 45 minutes, maybe.               I'm really unsure,

20    though, as far as timeline.

21    Q.   So you indicated that you told Mr. Nordean that you wanted

22    to take off because it was not a good idea to be there, right?

23    A.   Right.

24    Q.   Do you recall whether before that point in time,

25    Mr. Nordean said he needed to find his friends?
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1                GOVERNMENT COUNSEL:         Object to hearsay.

2                MR. SMITH:     Statement of intent.

3                THE COURT:     Overruled.

4                THE WITNESS:     I don't recall at this point.

5     BY MR. SMITH:

6     Q.   Okay.

7     A.   That for sure.

8     Q.   Do you recall him saying that at any other point?

9     A.   I'm not a hundred percent for certain that he said that.

10    Q.   Are you any other percent certain?

11    A.   When he left the Rotunda or the --

12    Q.   Traffic circle?

13    A.   When we first went up there before you see us holding on, I

14    vaguely remember I was talking about, hey, we got to go get

15    everyone.

16    Q.   What do you mean by getting everyone?

17    A.   Just the Proud Boys, the guys.

18    Q.   Is that -- why would you be talking about getting them?

19    A.   Well, because we weren't supposed to be up there.

20    Q.   By get them, do you mean like they had moved ahead or --

21    A.   Yeah.

22    Q.   Okay.

23    A.   Yeah, most all of them had already pushed up to this

24    location by the time Ethan and I had walked up there.

25    Q.   Okay.    I'm going to bring up Nordean Exhibit 301, one more
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 30 of 216   14538




1     time, and go to 3 hours and 17 seconds.

2                 3 hours, 17 minutes and 52 seconds.

3     A.   One more time?

4     Q.   3 hours, 17 minutes and 52 seconds.          Can you see this,

5     Mr. Nugent?

6     A.   Yes.

7          (Whereupon, the exhibit was published in open court.)

8     BY MR. SMITH:

9     Q.   Does this appear to be Mr. Nordean here in the immediate

10    foreground?

11    A.   Yes.

12    Q.   Did you see him raise his hand?

13    A.   Yes.

14    Q.   Did you hear someone say "Ho"?

15    A.   Yes.

16    Q.   Do you have an understanding from the march about what that

17    means?

18    A.   To stop.

19         (Whereupon, the exhibit was published in open court.)

20    BY MR. SMITH:

21    Q.   Do you see Mr. Nordean right there?

22    A.   Yes.

23    Q.   What is he doing there?

24    A.   Trying to get people to stop.

25    Q.   Do you have an understanding of what people he's trying to
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 31 of 216   14539




1     get to stop?

2     A.   Our crew.

3     Q.   Is that consistent with the interaction you said you had

4     with him, where he said he was going to try to find people that

5     went ahead?

6     A.   Correct.

7     Q.   So after January 6th, I think -- strike that.

8          You testified that you were in some of the Telegram chats

9     with the Proud Boys, right?

10    A.   Correct.

11    Q.   After January 6th, did you continue chatting in some of

12    those Telegram chats?

13    A.   Maybe for a day or two.

14    Q.   Was there a time where you had conversations about whether

15    to delete messages?

16    A.   At one point in time, I had mentioned to delete them, like

17    clear the chat.

18    Q.   Why did you say that?

19    A.   Just so it was no longer there.

20    Q.   Well, fair enough.      Why did you not -- was there any

21    particular person that you didn't want to see it?

22    A.   Not in particular.      We usually try to clean everything up,

23    especially from, like, Antifa groups and stuff.

24    Q.   Would you be concerned about Antifa groups seeing those

25    chats?
     Case 1:21-cr-00175-TJK    Document 721     Filed 03/23/23   Page 32 of 216   14540




1     A.   At the time, probably, yeah.

2     Q.   Why?

3     A.   Just because it has information about what we were doing.

4     Q.   Have you heard that Antifa people have doxxed Proud Boys

5     before?

6     A.   Highly doxxed.

7     Q.   And you've been doxxed before by Antifa?

8     A.   Correct.

9     Q.   What happened?

10    A.   Attacked my home, put letters in the mailbox, telling my

11    neighbors, harassed me, put posts on Craig's List of me selling

12    furniture, and just have people come pick it up.

13    Q.   Do you know if that's happened to other Proud Boys members?

14    A.   Absolutely.

15    Q.   So basically, your experience with these Telegram chats was

16    there some fear that chats would get out and they would be

17    doxxed?

18                GOVERNMENT COUNSEL:         Object to leading.

19                THE COURT:     Sustained.

20    BY MR. SMITH:

21    Q.   Was there or was there not a fear among other Proud Boys,

22    in your experience, based on your interactions, of being doxxed

23    by Antifa?

24                GOVERNMENT COUNSEL:         Object to foundation.

25                THE COURT:     Overruled.
     Case 1:21-cr-00175-TJK    Document 721   Filed 03/23/23   Page 33 of 216   14541




1     BY MR. SMITH:

2     Q.   Do you understand the question?          Do you want me to ask it

3     again?

4     A.   There was very much a fear.

5     Q.   Okay.    In your experience, did that lead some Proud Boys to

6     want to get rid of messages?

7     A.   Yes.

8     Q.   So just two more questions.        You have testified in the

9     grand jury in this case, correct?

10    A.   Yes.

11    Q.   The Government asked you to testify, correct?

12    A.   Yes.

13    Q.   And you told -- did you or did you not tell the truth

14    there?

15    A.   Yes, I told the truth.

16    Q.   And you have not been charged with an offense in this case,

17    correct?

18    A.   With what?

19    Q.   With any crime in this case?

20    A.   No.

21                MR. SMITH:     That's all, Your Honor.        Thank you.

22                THE COURT:     Let me just hear counsel quickly at

23    sidebar.

24         (Whereupon, the following proceedings were had at sidebar

25    outside the presence of the jury:)
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 34 of 216   14542




1                THE COURT:     Is there any counsel that wants a direct?

2                MR. JAUREGUI:     Judge, Sabino Jauregui for Tarrio.          A

3     short direct, Your Honor.

4                THE COURT:     All right.   And I see Ms. Hernandez with

5     her hand up as well.

6                All right.     So we'll go Ms. Hernandez, Mr. Jauregui.

7                MR. SMITH:     Is there an opportunity we can just confer

8     very briefly before we proceed?        Is that -- just to get --

9     about two minutes?

10               THE COURT:     Two minutes?

11               MR. SMITH:     I'm sorry, maybe 30 seconds.

12         (Whereupon, the following proceedings were had in open

13    court:)

14               MR. SMITH:     I'm going to get out of the way, Judge.

15    Thank you.

16               THE COURT:     All right.   Very well.

17               Can I also just ask, Counsel, if there's a way for

18    counsel who are -- well, I'm told the court reporter is picking

19    up a lot of noise from the counsel table -- counsel table,

20    generally.

21               So if there's a way if you're -- if you're not going

22    to be -- if you're one of the two who are not objecting or if

23    there's a way to try to keep -- for the attorneys to keep their

24    mouths away from the microphone, it would be appreciated.

25               Ms. Hernandez, you may proceed.
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      Nugent - DIRECT


1                                DIRECT EXAMINATION

2     BY MS. HERNANDEZ:

3     Q.   Good afternoon.

4     A.   Good afternoon.

5     Q.   I represent Zachary Rehl.         You were shown a picture of him

6     several times and didn't recognize him very well.

7          Do you know who he --

8                MS. HERNANDEZ:     Mr. Rehl, can you stand up, please?

9                THE COURT:     Ms. Hernandez, I cannot hear you.

10               MS. HERNANDEZ:     Sorry.

11    BY MS. HERNANDEZ:

12    Q.   That's Zack Rehl.      You were shown several pictures of him

13    on the screen before and you did not recognize him.               Do you

14    recall that?

15    A.   Yes, I recall.

16    Q.   Have you seen him before?

17    A.   I have.

18    Q.   But he wasn't that familiar to you during the march?                 You

19    didn't see him very much?

20    A.   Correct.    He hasn't been very familiar to me ever.

21    Q.   So you have not had very many contacts with him?

22    A.   No, I don't believe so.

23    Q.   So on January 6th, during the march or at any time on

24    January 6th, did you see Mr. Rehl carrying any weapons?

25    A.   I don't recall it.
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      Nugent - DIRECT


1     Q.   I'm sorry?

2     A.   I don't recall it.

3     Q.   Okay.    Or you didn't see him with a flagpole or a walking

4     stick or anything like that?

5     A.   I wouldn't recall.

6     Q.   Flex cuffs?

7                GOVERNMENT COUNSEL:         Asked and answered.       He doesn't

8     recall.

9                THE COURT:     What was the question?

10               MS. HERNANDEZ:     Flex cuffs.

11               THE COURT:     You may answer the question, sir.            The

12    objection is overruled.

13               THE WITNESS:     I don't recall.

14    BY MS. HERNANDEZ:

15    Q.   How about any bear spray or irritant or anything like that?

16               GOVERNMENT COUNSEL:         Object to foundation on 403.

17    Doesn't recall.

18               THE COURT:     Overruled.

19               THE WITNESS:     I don't recall.

20    BY MS. HERNANDEZ:

21    Q.   And did you see him knocking over any bike racks?

22    A.   I did not.

23    Q.   Or fences?

24    A.   I did not.

25    Q.   Or scaffolding?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 37 of 216   14545

      Nugent - DIRECT


1     A.   I did not.

2     Q.   Or did you see him throw any bottles or projectiles?

3     A.   I did not.

4     Q.   Did you see him push, hit or spit on any law enforcement

5     officer?

6     A.   No, I did not.

7     Q.   Impede any law enforcement officer?

8     A.   No, I did not.

9     Q.   Take any police equipment, such as a shield, a baton or any

10    other weapon?

11    A.   I didn't.

12    Q.   And you didn't see him help anybody do any of those things?

13    A.   No.

14    Q.   You didn't see him break or damage any property on the U.S.

15    Capitol?

16    A.   I did not.

17               THE COURT:     Sir, can you -- you need to keep your

18    voice up.

19               THE WITNESS:     Sorry.

20               THE COURT:     It's okay.

21    BY MS. HERNANDEZ:

22    Q.   You didn't see him helping anyone do any of those things,

23    correct?

24    A.   I did not.

25               MS. HERNANDEZ:     Thank you.     I have no other questions,
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      Nugent - DIRECT


1     Your Honor.

2                                DIRECT EXAMINATION

3

4     BY MR. JAUREGUI:

5     Q.   Good afternoon, sir.      My name is Sabino Jauregui.          I

6     represent Enrique Tarrio.       I just have a few questions for you.

7     A.   Okay.

8     Q.   Did Tarrio cooperate with the local police whenever a rally

9     was being held?

10    A.   Outside of January 6th, you're asking?

11    Q.   Yes, sir.

12    A.   Absolutely.

13    Q.   Okay.    Would he call the police or email, message, to

14    inform them of your plans?

15    A.   Yes.

16    Q.   Did Tarrio also cooperate with the FBI before holding

17    rallies?

18    A.   Yes.

19    Q.   And actually, were you present in Portland when Enrique

20    cooperated with law enforcement there in Portland?

21    A.   Yes.

22    Q.   Once Enrique was arrested here in D.C., did somebody step

23    up to take leadership of the Proud Boys for January 6th?

24    A.   It was briefly spoken about that Ethan would -- Ethan and

25    Joe would kind of do that.
     Case 1:21-cr-00175-TJK    Document 721   Filed 03/23/23    Page 39 of 216   14547

      Nugent - DIRECT


1     Q.   And is it true that everybody was -- I guess, they didn't

2     know what to do once Enrique was arrested?

3     A.   Yes.

4     Q.   And, actually, you guys didn't even know where Enrique was.

5     You were searching to find out where he was being held?

6     A.   I spent, myself, probably five hours looking for him the

7     day before.

8     Q.   On the night of the 5th, did you get to speak to a guy

9     named Kenny Lizardo?

10    A.   I don't recall.

11    Q.   Did you ever learn if Kenny Lizardo was with Enrique Tarrio

12    the whole day of the 5th?

13    A.   Can you repeat that question?

14    Q.   Sure.    Did you learn later that Kenny Lizardo was with

15    Enrique Tarrio on the 5th of January most of the day?

16    A.   No, I didn't.

17    Q.   Okay.    Thank you, sir.

18         Was it the original agreement way back when for Enrique to

19    give a speech on January 6th at the *Latinos for Trump's

20    speech?

21    A.   I do briefly remember some kind of conversation about that,

22    yeah, in the chats.

23                MR. JAUREGUI:     That's all I have.         Thank you very

24    much, sir.

25                THE COURT:     All right.   Cross-examination from the
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 40 of 216   14548




1     Government.

2                                 CROSS-EXAMINATION

3     BY MR. MULROE:

4     Q.   Good afternoon, Mr. Nugent.

5     A.   Hello.

6     Q.   Are you doing all right?

7     A.   I'm a little nervous.

8     Q.   A little nervous?

9     A.   Yeah.

10    Q.   Mr. Nugent, sitting here today, you are no longer a Proud

11    Boy, correct?

12    A.   Correct.

13    Q.   There was a time, though, that you were?

14    A.   Correct.

15    Q.   And during that time, being a Proud Boy was an important

16    part of your life, wasn't it?

17    A.   Yes.

18    Q.   Fair to say that your perspective on some things today is a

19    little different from how it was back then?

20    A.   Can you kind of elaborate on that?

21    Q.   Well, when you were a Proud Boy, you said and did some

22    things that maybe you would have said or done differently than

23    you would today; is that fair to say?

24    A.   I mean, I'm not really sure how to answer that, to be

25    honest.
     Case 1:21-cr-00175-TJK    Document 721   Filed 03/23/23   Page 41 of 216   14549




1     Q.   I'll ask you this, Mr. Nugent.         Some of the questions I'm

2     going to ask you are going to involve things that you said and

3     that you did back when you were a Proud Boy.              Do you understand

4     that?

5     A.   Right.

6     Q.   When you answer those questions, you're going to need to do

7     your best to try to put yourself back into that mindset, even

8     if that's not so easy to do; is that fair?

9     A.   Fair.

10    Q.   This jury, you understand, needs to appreciate the

11    perspective that you had going into January 6th.

12                DEFENSE COUNSEL:     Objection.     He's a fact witness.

13                THE COURT:     Overruled.

14    BY MR. MULROE:

15    Q.   The jury has got to understand the perspective that you

16    had, Mr. Nugent, going into January 6th; is that fair?

17                MS. HERNANDEZ:     Objection.     Relevance.

18                MR. JAUREGUI:     Counsel --

19                THE COURT:     Sustained as to that.

20    BY MR. MULROE:

21    Q.   Are you going to do your best to put yourself back in that

22    mindset, Mr. Nugent?

23    A.   Yes.

24    Q.   Now, when you agreed to rally with the Proud Boys on

25    January 6th, you had been a member of the club for two years at
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 42 of 216   14550




1     that point, correct?

2     A.   I believe so, yes.

3     Q.   During those two years, you had developed a fair amount of

4     experience as a Proud Boy?

5     A.   You can say that, yes.

6     Q.   You had the opportunity to take part in rallies?

7     A.   Yes.

8     Q.   You had the opportunity to meet members of national

9     leadership?

10    A.   Yes.

11    Q.   Do those include some of the defendants here on trial?

12    A.   Yes.

13    Q.   And you have been in different Proud Boys group chats on

14    Telegram, right?

15    A.   Yes.

16    Q.   And you used the Telegram handle CR Boy as your Telegram

17    name, right?

18    A.   Yes.

19    Q.   FBI has shown you some messages that you sent on Telegram

20    before?

21    A.   Yes.

22    Q.   And you've never denied that those were you messages,

23    correct?

24    A.   No.

25    Q.   You understand that some of those chats were found in
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 43 of 216   14551




1     Enrique Tarrio's phone?

2     A.   Makes sense.

3     Q.   You understand that some of those chats were found in Ethan

4     Nordean's phone?

5     A.   Yes.

6     Q.   Ethan Nordean had you saved in his phone as Travis

7     Vancouver PD; does that sound right?

8     A.   Sure.    I wouldn't know for sure.

9     Q.   Other than the MOSD and the Boots on the Ground chat, you

10    were part of other Telegram chats as well, correct?

11    A.   Correct.

12    Q.   About other rallies and kind of general Proud Boys

13    conversations?

14    A.   I wouldn't necessarily say other rallies.            There was

15    different chats for you name it, everything.

16    Q.   Other events?

17    A.   There was definitely events in other chats for events, I

18    guess.

19    Q.   And all those chats, I mean, people were pretty active in

20    those chats, correct?

21    A.   Yes.

22    Q.   All those events and all those chats sort of shaped your

23    perspective?

24                MR. JAUREGUI:    I'm going to object at this point as to

25    scope.
     Case 1:21-cr-00175-TJK     Document 721   Filed 03/23/23   Page 44 of 216   14552




1                THE COURT:       Let me just hear you at sidebar briefly.

2          (Whereupon, the following proceedings were held at sidebar

3     outside of the presence of the jury:)

4                THE COURT:       Mr. Jauregui, he talked about Portland.

5     He talked about all sorts of things about his experience with

6     the Proud Boys.         I don't know what to say.

7                MR. JAUREGUI:       Judge, the testimony was very limited

8     in scope by Mr. Smith, and I asked him just one question about

9     whether or not Enrique cooperated with law enforcement in

10    Portland.     Now we're getting into a whole universe of Telegram

11    chats that are going to vary in scope.             The Government is

12    probably going to go back into August now, which is completely

13    outside the scope of his testimony today.

14               THE COURT:       Also, if there's something that bears on

15    his credibility, as we went through with the agent and other

16    things, I think that's fair game.           If there's something related

17    to the case that bears on the credibility, I think that's fair

18    game.

19               Where are going, Mr. Mulroe, just to sort of lay this

20    out?

21               MR. MULROE:       Your Honor, I'm about to tie this

22    directly to January 6th, and then I may go back, as necessary,

23    depending on what he admits or resists.             But I do think it's

24    all within the scope.         They asked about these past rallies.

25               THE COURT:       What is the overall relevance, though, of
     Case 1:21-cr-00175-TJK    Document 721    Filed 03/23/23    Page 45 of 216    14553




1     where we're going?

2                MR. MULROE:      Your Honor, I'll just say I'm about to

3     ask him whether he had every reason to believe that violence

4     was in store for January 6th.           And that makes all of this

5     relevant.

6                THE COURT:      All right.    I mean, that's a fair

7     question.     We'll see what he says.

8                Ms. Hernandez.

9                MS. HERNANDEZ:      Your Honor, this whole notion of

10    mindset.    I think he's been asked about facts, what happened,

11    what he saw, what he did on January 6th.             What others saw --

12    excuse me.

13               THE COURT:      Go ahead, continue.

14               MS. HERNANDEZ:      Sorry.    So the questions were

15    photographs or videos were shown to him.             What did you see?

16    What did you do?        What did Nordean say to you?          What did you

17    hear him say?     This whole notion of state of mind, I don't

18    think there were any questions about state of mind.                 It was

19    just a factual description of what he saw and what he did that

20    day.

21               THE COURT:      There were many questions about what did

22    you expect and what was the plan that day.                I think this is,

23    you know, barely within that.           So you need --

24               MR. JAUREGUI:      Judge, but we're talking about that

25    day, January 6th.       Now we're going back months and months.              So
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 46 of 216   14554




1     his state of mind in August, October, November makes no

2     difference as to what happened on January 6th.

3                THE COURT:     He may say, no, that has nothing to do

4     with it, but I think they get to ask the question.              It's a fair

5     question, and if he says no, then no.          But I think it's a fair

6     question to ask whether things prior to January 6th affected

7     what his state of mind was that day.          I think that's fair.

8                You may proceed.

9          (Whereupon, the following proceedings were had in open

10    court:)

11    BY MR. MULROE:

12    Q.   Mr. Nugent, having been a Proud Boy for two years, you

13    testified to Mr. Smith that you were shocked by what happened

14    on January 6th, right?

15    A.   Right.

16               DEFENSE COUNSEL:     Objection.     Misstates the testimony.

17               THE COURT:     Overruled.

18    BY MR. MULROE:

19    Q.   And Mr. Smith asked you about what you thought was the

20    plan --

21               THE COURT:     All right.   I'll sustain -- Mr. Mulroe,

22    will you be more specific about what happened on January 6th?

23    Less testimony about him being shocked.

24    BY MR. MULROE:

25    Q.   Mr. Nugent, you testified that when the crowd went through
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 47 of 216   14555




1     those barriers for the first time at Peace Circle, you were

2     shocked by that, right?

3     A.   Correct.

4     Q.   You testified that you didn't think that there was any plan

5     for any force on January 6th, correct?

6     A.   Correct.

7     Q.   Mr. Nugent, based on your experience as a Proud Boy, you

8     had every reason to think that violence was in store when you

9     went with the Proud Boys to the Capitol on January 6th; isn't

10    that right?

11               THE DEFENDANT:     Objection, Your Honor.

12               THE COURT:     Overruled.

13    BY MR. MULROE:

14    Q.   You had every reason to expect violence, didn't you?

15    A.   No.

16    Q.   Mr. Nugent, based on your experience as a Proud Boy, you

17    knew that you might need to go against the police on

18    January 6th; isn't that true?

19    A.   No.

20    Q.   Let's rewind a little bit and talk about your knowledge and

21    experience prior to that day.          So you joined the Proud Boys in

22    late 2018, early '19?

23    A.   Correct.

24    Q.   And you were part of the Columbia River chapter of the

25    Proud Boys in Washington State, correct?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 48 of 216   14556




1     A.   Correct.

2     Q.   That chapter had about 30 to 50 people in it?

3     A.   Correct.

4     Q.   And there was a time when you were the vice president of

5     that chapter?

6     A.   Correct.

7     Q.   So fair to say that for a time, you held a modest

8     leadership position; is that fair to say?

9     A.   From my area, yes.

10    Q.   For your area, not national leadership.

11    A.   No.

12    Q.   Now, in Proud Boys generally, there are different degrees;

13    is that right?

14    A.   Correct.

15    Q.   First degree, second degree, third degree, fourth degree?

16    A.   Correct.

17    Q.   As of January 6th, you had achieved a rank of 4th-degree

18    Proud Boy, correct?

19    A.   Correct.

20    Q.   And to become a 4th-degree Proud By, it is required to --

21               DEFENSE COUNSEL:     Objection.     Relevance.

22               THE COURT:     Overruled.

23    BY MR. MULROE:

24    Q.   To become a 4th-degree, it is required that you get into a

25    conflict on behalf of the club; isn't that right?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 49 of 216   14557




1     A.   Correct.

2     Q.   And that means violence, doesn't it?

3     A.   Negative.

4     Q.   It can be some sort of other conflict that's nonviolent?

5     A.   Yes.

6     Q.   If you get into a shouting match with someone, it's going

7     to get you your 4th-degree?

8     A.   You can attend a protest.

9     Q.   Just attending?

10    A.   You can attend the protest.

11    Q.   Attending a protest would be enough to get you --

12    A.   There were members that got it for that, yes.

13    Q.   Is that how you got yours?

14    A.   No.

15    Q.   There are different degrees of Proud Boys and there are

16    also different types of Proud Boys, correct?

17    A.   To a degree, yes.

18    Q.   You've used the phrases "rally boys" and "party boys"?

19    A.   Yes.

20    Q.   The party boys like to drink?

21    A.   Yes.

22    Q.   The party boys like to socialize?

23    A.   Correct.

24    Q.   The party boys like going to bars?

25    A.   Correct.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 50 of 216   14558




1     Q.   It's right there in the name.        You like to party, right?

2     A.   Correct.

3     Q.   The rally boys, on the other hand, were into politics,

4     right?

5                THE COURT:     Into what, sir?

6                MR. MULROE:     Politics.

7                THE WITNESS:     I mean, I think everybody was with the

8     Proud Boys.

9     BY MR. MULROE:

10    Q.   The Proud Boys made it a priority to stand up for western

11    values?

12    A.   All of the Proud Boys did.

13    Q.   Rally boys especially liked to resist Antifa, correct?

14    A.   Sure, yeah.

15    Q.   And the rally boys, more so than the party boys, liked to

16    go to protests, right?

17    A.   That's somewhat accurate, I guess.

18    Q.   And everybody in the club knew that for rally boys,

19    protests equal violence; isn't that right?

20               DEFENSE COUNSEL:     Objection as to what others knew.

21               THE COURT:     Sustained as to the form of the question.

22    BY MR. MULROE:

23    Q.   You knew, Mr. Nugent, that for rally boys "protest" means

24    "violence," correct?

25               DEFENSE COUNSEL:     Same objection.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 51 of 216   14559




1                THE COURT:     Overruled.

2                MS. HERNANDEZ:     I thought that was asked and answered

3     before.

4                THE COURT:     Overruled.   The witness can answer the

5     question.

6                THE WITNESS:     Can you repeat the question?

7     BY MR. MULROE:

8     Q.   For rally boys, Mr. Nugent, protest means violence?

9                DEFENSE COUNSEL:     Objection.

10               THE COURT:     Sustained.

11    BY MR. MULROE:

12    Q.   From your perspective, Mr. Nugent, to be a rally boy means

13    protests means violence, correct?

14    A.   I think there's more to it than that, but that's definitely

15    a portion of it.

16    Q.   There's even a song about that, isn't there?

17    A.   About violence?

18    Q.   Do you know the song "Protest Time"?

19    A.   No.

20    Q.   "Protest time again.      Jump in the car."        No?

21    A.   I'm not aware of that song.

22    Q.   So, Mr. Nugent, I'm not going to ask you to put yourself

23    entirely on one side or the other, but you, as a Proud Boy,

24    were not big into drinking or doing drugs, right?

25    A.   No.
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1     Q.   And you did go to rallies?

2     A.   Yes.

3     Q.   And Ethan Nordean knew that about you?

4                 DEFENSE COUNSEL:     Objection as to what Ethan Nordean

5     knew.

6                 THE COURT:     Sustained, again, the way the question --

7     the form of the question.

8     BY MR. MULROE:

9     Q.   You've been to rallies with Ethan Nordean, haven't you?

10    A.   Correct.

11    Q.   You've been to rallies with Enrique Tarrio?

12    A.   Correct.

13    Q.   And for you personally, as someone who went to rallies, you

14    viewed the use of force as being a big part of the identity of

15    the Proud Boys; isn't that right?

16    A.   You said me?

17    Q.   You.

18    A.   No.

19    Q.   You didn't think using force was a big part of what the

20    Proud Boys --

21                DEFENSE COUNSEL:     Objection.     Asked and answered.

22                THE COURT:     Overruled.

23    BY MR. MULROE:

24    Q.   You didn't think that using force was important for Proud

25    Boys?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 53 of 216   14561




1     A.   At times, sure.

2     Q.   At times.    Your attitude, Mr. Nugent, was:          Always go ready

3     to fight because that's the world we live in?

4                DEFENSE COUNSEL:     Objection.     Character evidence.

5                THE COURT:     Overruled.

6     BY MR. MULROE:

7     Q.   I'll say that again.      Your attitude was:        Always go ready

8     to fight because that's the world we live in?

9     A.   Is there a source this is coming from?

10               MR. MULROE:     Can I have just for the witness, please,

11    Exhibit 1419B.

12    BY MR. MULROE:

13    Q.   While that's coming up, Mr. Nugent, do you remember being

14    part of a Telegram chat called "PNW Gay Ranch Cat Fight" chat?

15    A.   No.

16    Q.   Does that sound like the type of Telegram group you might

17    have been a part of?

18    A.   I mean, there's always weird, but no, I don't remember this

19    particular one.

20               MR. MULROE:     If we could scroll down a little bit.

21    BY MR. MULROE:

22    Q.   You see Travis Vancouver PB there on the bottom --

23               MS. HERNANDEZ:     Objection.     Relevance as to

24    Mr. Nugent.

25               THE COURT:     Overruled.
     Case 1:21-cr-00175-TJK    Document 721    Filed 03/23/23    Page 54 of 216   14562




1     BY MR. MULROE:

2     Q.   Travis Vancouver PB, that's you?

3     A.   Yes.

4     Q.   And so there are two messages on the screen.               First one is

5     from user Churro Knives (ph) it says:            Dude --

6                 MR. JAUREGUI:     Objection.     Lack of evidence.         Improper

7     foundation.

8                 DEFENSE COUNSEL:     Improper impeachment.          I mean,

9     that's not proper --

10                THE COURT:     Hold on.     Let me hear you in sidebar.

11         (Whereupon, the following proceedings were held at sidebar

12    outside of the presence of the jury:)

13                DEFENSE COUNSEL:     We've been down this road before,

14    Judge.    It's either impeachment or refreshing his recollection,

15    but it can't be both without a foundation.

16                THE COURT:     Well, he just said it's his message.

17                DEFENSE COUNSEL:     He didn't say that.          He said that

18    was his name.     He hasn't been asked to adopt the message as his

19    own, and he hasn't been asked whether this refreshes his

20    recollection.

21                THE COURT:     No.   He was asked that it was:          Always go

22    ready to fight; it's the world we live in.                He was asked that

23    question.     He denied it.      So why can't -- Mr. Mulroe is just

24    setting the -- he's giving -- orienting him as to something he

25    responded to.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 55 of 216   14563




1                MR. PATTIS:     I don't recall the record that way, sir.

2     The transcript will confirm, as we like to say.             He said, is

3     there still -- a source this is coming from?             Mr. Mulroe had an

4     exhibit marked for identification.         Now he's reading from an

5     exhibit that's been marked for identification.

6                He's asked the man whether his name was Travis

7     Vancouver PB, which is presumably on the document.              I think he

8     has to show the witness the document to see if it refreshes his

9     recollection, or otherwise authenticate it to use to impeach.

10    You can't to it otherwise.

11               THE COURT:     He's not using it to refresh recollection,

12    but he does -- I mean, he denied the statement.

13               MR. PATTIS:     No, Your Honor, he never denied it.

14    Never.    He simply said, is this coming from a document, and I

15    think Mr. Mulroe has to show it to him to get him to adopt it

16    to impeach him with it.       He just doesn't get to read it from

17    the well of the Court.

18               THE COURT:     Well, as to his statement, why can't he

19    just ask the same --

20               I mean, I think, Mr. Mulroe, the proper way to do it

21    is just ask the question again, isn't this you?             I mean, you

22    denied that, and now go to his statement, rather than the

23    statement that it's responding to.         Isn't that the right way to

24    do it, Mr. Mulroe?

25               MR. MULROE:     Yes, Your Honor.      I think at this point,
     Case 1:21-cr-00175-TJK    Document 721    Filed 03/23/23   Page 56 of 216   14564




1     I can just move the exhibit in.          I mean, he said it's him and

2     it contradicts --

3                MR. PATTIS:      He hasn't said it's him.         He said that's

4     his screen name.        If he adopts the statement as his, then the

5     analysis changes.       But as a matter of form, he hasn't.

6                THE COURT:      No, no, no.     If he denies -- and we have

7     been down the road.        And creatively, Mr. Smith, in particular,

8     has admitted all sorts of evidence that has prior inconsistent

9     statement.

10               So Mr. Mulroe --

11               MR. PATTIS:      That was without objection.          I am

12    objecting on the grounds that unless he adopts the statement as

13    his own, it needs a foundation.

14               THE COURT:      That's a -- the Government definitely

15    objected, I recall.

16               The point is, he can ask him the question, isn't it

17    true you -- this is your statement?            If he says yes, frankly --

18    well, if he says yes, then we're done.             If he says no, then I

19    don't know why it can't be moved into evidence as a prior

20    inconsistent statement.

21               MR. PATTIS:      Documents come into evidence three ways.

22    They either come in to refresh a person's recollection, in

23    which case they're moved in for identification.               They come in

24    as a prior inconsistent statement if they can be shown that

25    they are the witness's statement.           They come in as past
     Case 1:21-cr-00175-TJK   Document 721     Filed 03/23/23   Page 57 of 216    14565




1     recollection recorded if they meet those formalities.                 This is

2     the second route, and unless he adopts it as his statement, it

3     can't be used.

4                THE COURT:     Or the Government can lay the foundation

5     that it is --

6                MR. PATTIS:     It is his statement, right.           But they

7     have to lay that foundation.           And if he denies it, they can't

8     lay it through him.

9                THE COURT:     So you're denying that this is his

10    statement?     You're objecting on that basis?

11               MR. PATTIS:     No.   I was objecting that it was being

12    read from the by the well of the Court.             Absent the foundation,

13    I think the attempt has to be made to lay it.

14               THE COURT:     Mr. Mulroe, we'll put aside whether you

15    can move it in, but you can certainly ask him if that's his

16    statement.     I think that's where you're headed.            So go right

17    ahead.

18               MS. HERNANDEZ:     I'm sorry, Your Honor.          Two things.

19    Number one, this, I believe, is a chat group that Mr. Mulroe --

20    that the Government has not introduced in the past.                This isn't

21    one involving any of the defendants, except of Mr. Nordean, if

22    I'm not mistaken.       So it's completely -- it's hearsay as to the

23    defendants in general.

24               THE COURT:     The Government has asked him about his

25    expectations heading into January 6th.             This is about that.       So
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 58 of 216   14566




1     it is relevant for that purpose.

2                MS. HERNANDEZ:       But it should be limited to -- I mean,

3     I don't even know what date it is, but it's limited to whenever

4     it was.    And second Your Honor, I did not understand that any

5     prior inconsistent statement comes in.           Only sworn prior

6     inconsistent statements come in.

7                THE COURT:     No.   I think we've been down this road,

8     and Mr. Smith has creatively gotten a lot of things in evidence

9     that I believe were not sworn.         But we can -- let's not do a

10    dally on this now.

11               Mr. Mulroe, you may proceed.

12         (Whereupon, the following proceedings were had in open

13    court:)

14    BY MR. MULROE:

15    Q.   Mr. Nugent, that's your statement:          Always go ready to

16    fight.    It's the world we live in?

17               MR. PATTIS:     Again, same objection.        There has to be a

18    foundation.     We don't get to --

19               THE COURT:     Mr. Pattis, I understand the objection.

20               The objection is sustained.

21               You may ask the witness the question.

22    BY MR. MULROE:

23    Q.   Mr. Nugent, isn't it true that on December 13th of 2020,

24    you sent a message to the PNW Gay Ranch Cat Fight chat saying:

25    But always go ready --
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1                MR. PATTIS:      Objection.     Same foundation.       The witness

2     has to be given an opportunity to adopt it --

3                THE COURT:      This is -- you may proceed, Mr. Mulroe.

4     BY MR. MULROE:

5     Q.   Isn't it true that on December 13th, 2020, you sent that

6     message reading:        But always go ready to fight.

7                DEFENSE COUNSEL:      Same objection, Your Honor.

8                THE COURT:      Overruled.    I understand the objection.

9     BY MR. MULROE:

10    Q.   You sent that message saying:          But always go ready to

11    fight.    It's the world we live in.

12         Isn't that true, Mr. Nugent?

13    A.   Yes, it appears so.

14               MR. MULROE:      I move to admit 1419B.

15               DEFENSE COUNSEL:      We object to that as to foundation.

16               THE COURT:      It will be admitted.

17               MR. MULROE:      May we publish?

18               THE COURT:      Permission to publish.

19         (Government Exhibit 1419B received in evidence.)

20    BY MR. MULROE:

21    Q.   And, Mr. Nugent, you also had art work in your Google Cloud

22    storage account that celebrated this view of the Proud Boys as

23    heroes in violent conflict; isn't that right?

24    A.   Sure.

25               MR. MULROE:      May we have the screen just for the
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 60 of 216   14568




1     witness, please?

2                MR. JAUREGUI:     Objection.     Can we go on sidebar?

3          (Whereupon, the following proceedings were had in open

4     court:)

5                MR. JAUREGUI:     Judge, the way we've been handling it

6     throughout this trial is that the person is given an

7     opportunity to either admit or reject the statement.               If they

8     reject the statement, then the defense can impeach them with

9     the evidence.

10               He's saying, yes, I made that statement.             So why does

11    the Government get to now introduce it, if he's admitting that

12    he did make that prior consistent statement?              So he's saying

13    yes, I made the statement, and now the Government gets to

14    introduce it as well.

15               THE COURT:     So let me circle back to Mr. Smith --

16    well, Mr. Mulroe.       What's the answer to that question?           It's a

17    good question.

18               MR. MULROE:     Your Honor, this is not impeachment.

19    This is a piece of art that he possessed.

20               THE COURT:     No, no, no.     They're circling back to the

21    statement we just talked about.

22               MR. MULROE:     The previous one?

23               THE COURT:     Correct.

24               MR. MULROE:     Well, it's inconsistent with his initial

25    answer on direct.
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1                MR. JAUREGUI:     No.   He never --

2                THE COURT:     Mr. Jauregui, we'll come back to it, all

3     right.    Let's just let him move on.

4                MR. JAUREGUI:     Judge, on this one, on this artwork,

5     this is relevance.       This artwork has nothing to do and it's

6     outside the scope.       What does this artwork have to do with what

7     he testified on direct?

8                THE COURT:     Again, I think -- well, Mr. Mulroe, why

9     don't you -- why don't I hear from you on that?

10               MR. MULROE:     Your Honor, I'll proffer that the artwork

11    is an illustration in sort of a comic book style of a bunch of

12    Proud Boys beating up a bunch of ninja-looking Antifa people.

13    I think it circumstantially demonstrates this witness' view of

14    the Proud Boys as a fighting force on the side of good versus

15    evil.

16               MR. JAUREGUI:     Judge, it sounds to me like he depicts

17    the Proud Boys as a bunch of Teenage Mutant Ninja Turtles.

18    It's not relevant as to this case.

19               MS. HERNANDEZ:     Your Honor, again, I feel like the

20    Court has asked us when the Government is going to use -- or

21    when the defense is going to use a piece of evidence like this,

22    none of us have seen it.       Are we talking about some

23    black-on-white violence?       It's 403.     None of us have seen the

24    exact item that Mr. Mulroe wants you to introduce.

25               And, again, this is a very narrow chat group.             This
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1     chat group is this Vancouver PD that nobody else is familiar --

2     is, you know, involved with, is my understanding.

3                THE COURT:     I understand that.      The fact that no one

4     else is involved is totally irrelevant.

5                Mr. Mulroe, why don't we -- I mean, look, obviously,

6     this is a -- I understand your argument about relevance in

7     terms of what he has said already and how he did not expect

8     violence that day.       He took some leeway to do this.           I hear

9     you.    But how much of this do we have?         How many things are we

10    going to go through, just so we get a sense of this?

11               MR. MULROE:     There's going to be a bit more, Your

12    Honor.    The next one is something that's already in evidence,

13    and then a couple more chats I expect to show.

14               MS. HERNANDEZ:     I'm sorry, what is the other one

15    that's already in evidence?

16               MR. MULROE:     The other one I intend to show next is

17    the Bad Company video that Mr. Tarrio posted to his Parler

18    account.

19               MR. JAUREGUI:     Judge, what's the relevance in the

20    scope of that?      It has nothing to do with what he's testified

21    to on direct.

22               THE COURT:     Yeah, how does it link up with him?

23               MR. MULROE:     I mean, it may not.          I'm going to ask him

24    whether he's familiar with social media posts of videos

25    glorifying violence by the Proud Boys, and I think it's
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23    Page 63 of 216   14571




1     especially relevant because Mr. Tarrio is the one that posted

2     it, one.    And, two, it was specifically linked to the Portland

3     part of the country where this man was active.

4                MR. JAUREGUI:     Judge, I find this completely unfair.

5     The defense were policed very strictly when it came to scope

6     where we tried to cross-examine these witnesses.

7                THE COURT:     I understand.    I understand that.         But, I

8     mean, if the witness -- if there's something to contra -- but

9     on the other hand, again, the defendant -- let me put it this

10    way:    There were a lot of use of things that were contradicted

11    to impeach witnesses, a lot of creative use of statements

12    saying that they were contradictory.

13               This is, you know -- let's put it this way.

14    Mr. Mulroe, I'll give you a little bit of leeway here.                But I

15    don't know -- let me put it this way.          This was in his account

16    this year?

17               MR. MULROE:     Yes.

18               THE COURT:     You have leeway here.         I'm not going to

19    have you show him every video under the sun that he might or

20    might not be familiar with.       You can -- this is in his account.

21    I this think it's fair game.

22               MS. HERNANDEZ:     Your Honor, the questions asked by

23    Mr. Nordean about expectation of violence for January 6th, if

24    my recollection serves me right, were right based on his

25    participation in MOSD and his participation on Boots on the
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 64 of 216   14572




1     Ground.    They are not generally based on his -- you know, are

2     Proud Boys generally violent.

3                This comes back to our argument over propensity of the

4     evidence, 403.      The Government continuously tries to paint the

5     Proud Boys as these violent groups.          My client has never, ever

6     been charged with hitting anybody or been arrested for hitting

7     anybody.    He didn't do that on January 6th.

8                THE COURT:     I understand.    I understand.

9                MR. MULROE:     Your Honor, I just want to know their

10    perspective, that if they call a witness to the stand with some

11    violent past, and he gets up there and says, gosh, I didn't

12    think there was going to be any violence, that they do that at

13    their peril.     We have the right to impeach that.

14               THE COURT:     I think that's fair, but I think it has to

15    be tethered to him.       It can't be just:      I'm showing him this

16    video and, gee, did you -- showing a video already and saying,

17    gee, did you ever see this.

18               So you can proceed with this with -- Mr. Pattis?

19               MR. PATTIS:     I wasn't paying attention but I heard

20    Mr. Mulroe say they call a witness at their peril who didn't

21    use violence, but we get to impeach him with that violent past.

22    That's -- you can't even make --

23               MR. MULROE:     That's not what I said.

24               THE COURT:     That's not what he said.        That's not what

25    he said.
     Case 1:21-cr-00175-TJK    Document 721     Filed 03/23/23   Page 65 of 216   14573




1                 Mr. Mulroe, you can proceed with this, and -- but not

2     showing him just videos that were posted and asking him, gee

3     did you ever see this video?            So let's tether it to things you

4     can tether to him.        You may proceed.

5          (Whereupon, the following proceedings were had in open

6     court:)

7     BY MR. MULROE:

8     Q.   So, Mr. Nugent, on you screen there you've got Government

9     Exhibit 1408.     You recognize that as something that came from

10    your Google account?

11    A.   Yes.

12    Q.   You've seen that image before?

13    A.   Yes.

14    Q.   You kept a copy of that?

15    A.   I believe so, yeah.

16                MR. MULROE:     Move to admit 1408.

17                THE COURT:     It will be admitted.

18         (Government Exhibit 1408 received in evidence.)

19                MR. MULROE:     May we publish?

20                THE COURT:     Permission to publish.

21         (Whereupon, the exhibit was published in open court.)

22    BY MR. MULROE:

23    Q.   Mr. Nugent, you were familiar with videos posted online

24    that glorified Proud Boys going into battle, correct?

25    A.   Correct.
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1     Q.   They were videos that --

2                DEFENSE COUNSEL:     Objection, Judge.

3                MS. HERNANDEZ:     Propensity.

4                THE COURT:     I'll hear it at sidebar.

5          (Whereupon, the following proceedings were held at sidebar

6     outside of the presence of the jury:)

7                MR. MULROE:     Judge, I thought Your Honor had already

8     ruled --

9                THE COURT:     I said he can't show -- I don't want

10    him -- I don't think I would exclude, on 403, him showing him

11    any particular video.       If it's just general questions like

12    this, he won't be able to -- well, Mr. Smith would be able to

13    redirect him on, you know, what his understanding of these

14    videos is.

15               MS. HERNANDEZ:     Your Honor, we're in propensity

16    territory.     This notion that the Proud Boys were violent and,

17    therefore, they would be violent on January 6th --

18               THE COURT:     I understand the objection.        I think he

19    gets a little leeway to talk about -- to show him things that

20    link up with him that impeach the notion that he had no reason

21    to expect violence on January 6th.

22               You may proceed.

23         (Whereupon, the following proceedings were had in open

24    court:)

25    BY MR. MULROE:
     Case 1:21-cr-00175-TJK    Document 721   Filed 03/23/23   Page 67 of 216   14575




1     Q.   You know the videos I'm talking about, right, Mr. Nugent?

2                 DEFENSE COUNSEL:     Objection.     Nobody knows what videos

3     he's talking about.

4                 DEFENSE COUNSEL:     Objection.     Vague.

5                 THE COURT:     Witness can answer the question.

6     BY MR. MULROE:

7     Q.   Videos that glorify Proud Boys going into battle?

8     A.   I mean, I don't know what particular video you're talking

9     about.

10    Q.   You're familiar with that type of video, though?

11                MS. HERNANDEZ:     Objection, Your Honor --

12                THE COURT:     Overruled.   Please.     Overruled.

13    BY MR. MULROE:

14    Q.   You know the type of video I'm talking about, right?

15    A.   Yes.

16    Q.   And those videos got people pretty fired up sometimes?

17                MS. HERNANDEZ:     Objection, Your Honor.

18                DEFENSE COUNSEL:     Speculation.

19                THE COURT:     Sustained.

20    BY MR. MULROE:

21    Q.   Did those videos help your chapter with recruitment?

22    A.   I think overall, yeah.

23    Q.   With respect to violence, the official policy of the Proud

24    Boys was always in self-defense, correct?

25    A.   Correct.
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1     Q.   That was really just for appearances, wasn't it?

2                MS. HERNANDEZ:     Objection.     Argumentative.

3                THE COURT:     Overruled.

4     BY MR. MULROE:

5     Q.   That was just for appearances?

6     A.   I would say no.

7     Q.   You would say no?      Mr. Nugent, you understood that the

8     aggressive use of force was not just tolerated but celebrated;

9     isn't that right?

10               DEFENSE COUNSEL:     Objection.     Vague, argumentative.

11               THE COURT:     Sustained on vagueness grounds.

12    BY MR. MULROE:

13    Q.   Well, Mr. Nugent, let me ask you this:             There were times

14    you yourself celebrated the aggressive use of force, correct?

15    A.   Correct.

16    Q.   You once used the following words on Facebook to describe a

17    violent confrontation involving two Proud Boys:              Dudes --

18               DEFENSE COUNSEL:     Objection.     Cumulative, outside the

19    scope, 403.

20               THE COURT:     Overruled.

21    BY MR. MULROE:

22    Q.   You once used these words on Facebook:             Dudes tried to call

23    out Tiny and Donovan at the van mall for their Trump flag, and

24    it didn't end so well for them.

25         Do you recall that?
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1     A.   Yes.

2     Q.   Do you know the episode I'm talking about?

3     A.   Yes.

4     Q.   Do you agree with me that insulting somebody's flag is not

5     the type of thing that justifies the use of force in

6     self-defense?

7                 DEFENSE COUNSEL:     Objection, Your Honor.           Calls for a

8     legal conclusion.

9                 THE COURT:     Overruled.

10                MS. HERNANDEZ:     Beyond the scope.

11                THE COURT:     Overruled.

12    BY MR. MULROE:

13    Q.   You can answer.

14    A.   I don't know exactly what happened, but it wasn't just a

15    flag.

16    Q.   Beyond just celebrating it, you yourself once tried to

17    recruit other Proud Boys to use force aggressively as those you

18    viewed as your enemies; isn't that true?

19                DEFENSE COUNSEL:     Objection.       Vague, time.

20                THE COURT:     Sustained as to vagueness.

21    BY MR. MULROE:

22    Q.   Let me be more specific.           Mr. Nugent, do you remember being

23    part of a Telegram chat called "PDX Event Page"?

24                MS. HERNANDEZ:     Objection.       Relevance to Mr. --

25                THE COURT:     Overruled.
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1     BY MR. MULROE:

2     Q.   Sound like a chat you were part of?

3     A.   I would assume so but, I mean, I don't recall the name

4     exactly.

5     Q.   And Enrique Tarrio was part of that chat, too, right?

6     A.   Again, it's been so long, I don't know.

7     Q.   Do you remember a time in August of 2020 when you used that

8     chat group to recruit other Proud Boys to go attack some cars

9     that you thought belonged --

10               MR. JAUREGUI:     Objection.    Foundation.      He already

11    says he doesn't know.

12               MS. HERNANDEZ:     Objection as to the date, Your Honor.

13    It's outside the conspiracy --

14               THE COURT:     Overruled.   Those objections are

15    overruled.

16    BY MR. MULROE:

17    Q.   Do you remember using that chat to recruit other Proud Boys

18    to go attack some cars that you thought belonged to BLM and

19    Antifa?

20    A.   I don't know for sure.

21    Q.   Tell me if you remember sending this message:             So I have a

22    guy I work with that knows --

23               MS. HERNANDEZ:     Objection.     If he's refreshing

24    recollection, then it can't be by the defendant -- by the

25    witness.
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1                THE COURT:     Let me hear counsel at sidebar.

2          (Whereupon, the following proceedings were held at sidebar

3     outside of the presence of the jury:)

4                THE COURT:     We've been down this passage with

5     Mr. Pattis just a moment ago, down this road.             Mr. Mulroe has a

6     good-faith basis to ask these questions.           He's reading,

7     practically, from the person's Facebook message.             Now --

8                MS. HERNANDEZ:     He said that he didn't refresh -- he

9     didn't recall that message.        The way to do it is then to show

10    it to him and see if he recalls it -- if he recalls it.                  And

11    this is a message of, as far as I understand, from 2020.                 I

12    thought the witness said he did not recall.

13               THE COURT:     He said it three times, he doesn't recall.

14               MS. HERNANDEZ:     So if he doesn't recall, then he's

15    trying to refresh recollection, and then it goes -- he doesn't

16    read it out loud.       He's shown it to the witness:        Does this

17    refresh your recollection?

18               THE COURT:     You can proceed that way.

19               MS. HERNANDEZ:     It's the only way -- I'm sorry.

20               THE COURT:     It's the only way?

21               MS. HERNANDEZ:     It's the only way to refresh

22    recollection.     It doesn't get read into the record.

23               THE COURT:     Right.   It's the only way to refresh

24    recollection.     But Mr. Mulroe is not attempting to refresh his

25    recollection.     Mr. Mulroe is attempting to cross-examine him
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1     and ask him if he made a particular statement that he has a

2     good-faith basis to ask about.          Doesn't he?

3                MS. HERNANDEZ:     No.      I mean, he's asked with reading,

4     and the guy says, I don't remember.            So the next step is, well,

5     let me show it to you.       Read it to yourself and see if this

6     refreshes your recollection.           If it does, that's the end of it.

7                THE COURT:     Mr. Smith.

8                MR. SMITH:     Your Honor, I think the whole line of

9     questioning is character evidence, for this reason, Your Honor.

10    I'll explain it very briefly.          Mr. Mulroe is asking the witness

11    about whether he has certain opinions about the use of

12    violence.     The suggestion is that this shows that he could have

13    intended the use of violence on January 6th.               That's the use of

14    a character trait to show action in accordance with that

15    character trait.

16               It's impermissible evidence, Your Honor.

17               THE COURT:     Okay.   Let's -- I understand your

18    argument.     I'm going to -- here's what we're going to do.               It's

19    about 10 minutes early for a break, but I'm going to take the

20    afternoon break for the court reporter, and we'll come back and

21    discuss this quickly outside the presence of the jury.

22               I don't -- well, I'll say no more.             Let's just have

23    our afternoon break.

24         (Whereupon, the following proceedings were had in open

25    court:)
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1                THE COURT:     We're a few minutes early on our afternoon

2     break for the court reporter.          We'll go ahead and take it now.

3                See you all in 10 minutes.

4          (Whereupon, the jury exited the courtroom and the following

5     proceedings were had:)

6                THE COURT:     Sir, you may step down.

7                Just for a moment, we'll give the court reporter a

8     break from taking down what you're saying.

9          (A recess was taken at 3:03 PM)

10         *(out defendant presence of jury)

11               THE COURT:     Everyone may be seated.

12               So, look.     I understand the argument you're making,

13    Mr. Smith.     I think -- let me put it this way.           I think it

14    is -- this is sort of a subspecies of things we've been -- the

15    parties have been arguing about for a long time about violence

16    and the way it plays out in this case.

17               I do think, again, this is kind of -- the way it plays

18    out with this witness is a little different, though, because,

19    again, this is a witness who testified, oh, I didn't expect

20    anything to happen.       I didn't expect any violence that day.

21    And these are things that tend to undermine that.

22               So I don't see it -- let me put it this way.              To the

23    extent it's tethered to violence that advances the Proud Boys's

24    political goals, I don't see it as -- I see it as legitimate

25    impeachment evidence.       But there's going to be a limit to how
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1     long we can go down this road on 403 grounds, I think.                 That's

2     number one.

3                Number two, just as far as the process goes, I don't

4     know why -- Mr. Pattis, circling back to your objection and

5     just sort of like -- and Ms. Hernandez echoed it.                I don't

6     have -- let me put it this way.

7                Of course, you can choose to refresh your witness's

8     recollection, if you would like, right?             That's one way of

9     doing it.     I don't think there's anything -- what's the

10    Government -- Ms. Hernandez, your point and, Mr. Pattis, your

11    point, too, was if you say, well, if the person cross-examining

12    says, didn't you -- and asks the question in a very vague way,

13    and the witness says, I can't remember, and they have a

14    good-faith basis to ask a question about whether the person

15    said something that would impeach them, it's the expectation.

16    Now, you may disagree, it doesn't impeach them.               But let's just

17    assume it does.         I don't know why, if they have a good-faith

18    basis, they can't just ask the question, even if the person had

19    said, I don't remember.

20               I guess, in fairness, I should hear Ms. Hernandez.

21               MS. HERNANDEZ:       First of all, it's an out-of-court

22    statement.     It's hearsay.      So the only way it comes in is

23    either because it's a prior inconsistent statement or it's to

24    refresh recollection, and then he gets to read it and see if it

25    refreshes his recollection.
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1                With respect to -- it's an out-of-court statement,

2     what the Government's trying to introduce.               801D says:    A

3     declaring witness's prior statement, the declarant testifies on

4     any subject to cross-examination on prior statement, and the

5     statement is inconsistent with the declarant's testimony, I

6     mean, this is -- this cross-examination is not about what the

7     declarant said but what he thought, and was given under penalty

8     of perjury at trial.       Then it can come in.          Otherwise, it's a

9     hearsay statement.

10               THE COURT:     No, no, no.     It's a separate question

11    about whether the statement would be moved into evidence.                  So

12    put that aside just for the moment.           The point is -- the point

13    is it does impeach -- in other words, we went through this when

14    the shoe was on the other foot, where Mr. Smith made a lot of

15    creative use of sort of statements that he would say.                 That

16    impeaches the witnesses.

17               And the Government -- what the Government is saying

18    here, the relevance is, this person said, there was no reason

19    for me to think -- expect any violence on that day.                Right?

20    And so that these things they are bringing out, in their view,

21    impeach that statement.

22               MS. HERNANDEZ:     They don't really because the bottom

23    line is he came on January 6th.         He committed no violence.            So

24    to say that he expected no violence is not inconsistent with

25    anything he ever said before.          Making these statements -- these
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1     are out-of-court statements that the Government is misusing at

2     this point, in addition to all the propensity stuff, in

3     addition to the fact that all these statements come in from his

4     little chapter out in Vancouver that nobody else knows anything

5     about or had any interaction with.           I mean, it's just -- I've

6     never seen prior statements introduced in this fashion.

7                THE COURT:     Ms. Hernandez, you understand that it

8     doesn't matter -- if we can at least get this straight.                    It

9     doesn't matter -- when we're impeaching this witness, it

10    doesn't matter that your client wasn't in a chat group.                    Do you

11    understand why that is?

12               MS. HERNANDEZ:     I understand.        But you still have a

13    403 issue, relevance, that comes in.            I just don't understand

14    this manner of impeaching somebody when he is not saying he

15    didn't -- you impeach him because he's denying he said it

16    before.    He's never denied not saying it before.

17               THE COURT:     No, no.      Mr. Smith made very creative use

18    of this in many ways, because I had to go run it down.                 When a

19    witness would say something, he would say, Judge, that

20    impeaches the witness because it's -- not because it's a prior

21    inconsistent statement, but because it's inconsistent, at least

22    arguably, with his testimony.          I could go back and look in the

23    record.    It's inconsistent with his testimony.

24               So what the Government is doing here is doing the same

25    thing and saying this is inconsistent with his testimony.                   His
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1     testimony was, I had no reason to think there would be

2     violence.     And their argument is, yes, you did because of A, B

3     and C.

4                MS. HERNANDEZ:     Again, if that's the reason for

5     bringing it in, number one, it isn't inconsistent with the

6     testimony because he managed to be there on January 6th and not

7     commit any violence.       My client managed to be there on

8     January 6th and not commit any violence, one.

9                Two, it remains an out-of-court statement being

10    offered for the truth of the matter asserted.             That does not

11    come in.    And if he reads it out loud, it's coming in.             That's

12    evidence.     If he reads it out loud, it's evidence that's coming

13    in.

14               THE COURT:     All right.   Mr. Smith, I'll hear you.

15               MR. SMITH:     Your Honor, one last point we want to make

16    is the 404 rule is separate and apart from relevance and

17    impeachment.     So it's a bar on evidence, no matter how it's

18    characterized.      Even if the evidence is relevant, it still

19    passes 403 muster.       It is impeachable, 404 is a separate

20    category bar on evidence.

21               404B1 reads:     Evidence of any other crime, wrong, or

22    act is not admissible to prove a person's character in order to

23    show that on a particular occasion, the person acted in

24    accordance with that character.

25               So if what we're doing is we're showing this witness,
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1     by statements, indicating he glorifies violence, in the

2     Government's words, in order to show that on a particular

3     occasion, January 6th, he expected or intended violence, that

4     is squarely within the bar and purpose of the use of this

5     evidence.     And that's true, even if we characterize it as

6     relevant, if we characterize it as impeachment.              If that's what

7     it's going to show, it's barred.

8                THE COURT:      I do think "expected" and "intended" are

9     two different things, maybe for the purpose of this rule.                 I'll

10    look at it.

11               Mr. Pattis, what did you want to say?            I'll give you a

12    word, and then I'll give the Government a word --

13               MR. PATTIS:      My point is, perhaps, hypertechnical

14    about foundations.        I think that both sides have gotten away

15    with creatively mixing and matching.           Did you say, well, I

16    don't recall looking at a document?           Refresh your recollection.

17    If the person says, yes, you give him permission to show it.

18    You have him read it.        Does that refresh your recollection?

19    Didn't you once say?        That's one way to do it.

20               Second way to do it is, did you state on a prior

21    occasion something inconsistent, without reading that document

22    into the record.        But you've got to -- in my view, at least,

23    and nobody ever would appoint me to sit in your seat.                But in

24    my view, the witness has to be shown that and adopt it as his

25    own.
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1                And the only reason I tendered that objection as to

2     this witness is because his recollection seems hazy to me.                 So

3     I was objecting to reading from the well of the Court,

4     something that had not been adopted by the witness as his own.

5                If the Government believed he had given an

6     inconsistent statement, my belief is that the proper foundation

7     is to show it, did you say that then?            And then contrast the

8     two and ask which is true.       So it was, perhaps, hypertechnical.

9     But given the witness' difficulties with recollection, I

10    thought it was apt at the time.

11               THE COURT:     I'm sorry.     Ms. Hernandez, I'll take a

12    look at it on the break.       I've heard all of you extensively on

13    this.    I just want to hear briefly from the Government and then

14    take our break for the court reporter, because now we are

15    approaching the time when we should take a break for her.

16               MR. MULROE:     May I ask, Your Honor, is there one of

17    those points that you're most interested in hearing?

18               THE COURT:     I'm more concerned about the mechanics of

19    how you think you should be able to proceed here.

20               MR. MULROE:     Right.      So I think that we have a menu of

21    options at our disposal, given the way this evidence has been

22    made relevant.      So I think that, certainly, we could treat it

23    as a prior inconsistent statement if he says, no, I didn't say

24    that, and then we show him saying that.             We could do it that

25    way.
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1                But I also think that, to the extent that each of

2     these prior messages by the witness impeaches and rebuts, in

3     the broader sense, his testimony on direct, I think that it's

4     got sort of independent probative value.           And I think that if

5     we didn't want to, we wouldn't even need to ask him, well,

6     didn't you send this message to the chat?               I think we could

7     just get him to say that's his message and put it in.                 So I

8     think that --

9                THE COURT:     Meaning -- look, you're right.           Put

10    aside -- we all know how you can -- at this point, we all know

11    how refresh your recollection works.          Put that aside.

12               You think -- let me put it this way, how do you intend

13    to proceed?     Simply to ask him a question because you think it

14    impeaches his testimony?       Did you say A, B and C?

15               And what about Mr. Pattis's -- the point that

16    Mr. Pattis and Ms. Hernandez are making that you should ask him

17    some sort of foundational question before you ask that?

18               MR. MULROE:     Well, I think given the posture we're on

19    with cross-examination, the question is whether we have the

20    good-faith basis to ask the question.          So I don't see why we

21    shouldn't be able to ask him, didn't you tell members of that

22    chat, and then just quote it to him.          We have a good-faith -- I

23    mean, we know that he said it.

24               THE COURT:     Again, as long as it's relevant in

25    impeaching and all the rest.
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1                MR. MULROE:     Correct, correct.

2                MR. PATTIS:     I still think the witness has to be given

3     the opportunity to adopt it as his own.             Show it to him.          I

4     mean, that's the point of having -- if it were a sworn

5     statement, then I think you've got a different issue.                   But if

6     it's not and it's just out there in the either -- I'm not

7     questioning Mr. Mulroe's good-faith basis.                Again, it may be an

8     arcane point but I still think it's not the right foundation.

9                MS. HERNANDEZ:     If it's not a sworn statement, Your

10    Honor, I think it's hearsay.           That's why I keep on saying

11    relevance as to my client.       As I understand 801D on prior -- a

12    defendant's witness prior statement --

13               MR. MULROE:     And just to be perfectly clear, Your

14    Honor, none of these are being offered for the truth of any

15    assertion within them.       It's to circumstantially show --

16               MR. JAUREGUI:     Judge --

17               MR. MULROE:     I'd like to finish what I was saying.

18               None of these is being offered for the truth.                 What's

19    being asserted is to circumstantially illustrate his state of

20    mind, his plan, his intention.          I know that 404B makes all

21    those things permissible, just to Mr. Smith's character

22    evidence point, which he's argued before.                 Opportunity, intent,

23    preparation, plan, knowledge, motive, all permissible purposes.

24               That's what these statements are doing, as well as

25    rebutting his earlier testimony about no expectation of
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1     violence.     So with respect to that, I think that hearsay just

2     doesn't factor into this analysis at all.

3                THE COURT:     Mr. Jauregui, I'll give you the last --

4                MR. JAUREGUI:     Judge, just briefly.          To impeach what?

5     That he said that he was shocked on January 6th that there was

6     violence?     So they get to go back in time to every incident to

7     2018 to say that he glorified violence and that he drew some

8     Teenage Mutant Ninja Turtles fighting some black ninjas, to

9     impeach that?     That one word, shock, that let's them go back in

10    time for years and find every glorification of violence by this

11    man?    It's not relevant.     It's outside the scope.

12               THE COURT:     Look, there's a limit here.          I mean, if

13    that's overall, your point, I think there is a limit here.

14               All right.     Let's take our 10 minutes.          Give the court

15    reporter a break.

16         (A recess was taken at 3:17 PM)

17               DEPUTY CLERK:     We are back on the record in criminal

18    matter 21-175, United States of America versus Ethan Nordean,

19    et al.

20               THE COURT:     Mr. Smith.

21               MR. SMITH:     Your Honor, just two people outside the

22    hall just informed us that they saw the witness Nugent speaking

23    to an FBI agent in the hall.           I made an inquiry with

24    Mr. Nugent's counsel to find out what that was about.

25    Mr. Nugent's counsel represented that he went to go speak to
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1     the witness and ask him, and the witness replied that it

2     concerned his security and safety.

3                Mr. Nugent's counsel has indicated that the witness

4     has received some threats in the past that apparently relate to

5     the false suggestion that he's an informant for the Government,

6     and people had sent him threats.

7                So my understanding is that when the agent approached

8     the witness in the hall, it was to suggest that the FBI could

9     be available to help them guard against those threats.               That's

10    perfectly acceptable, of course, and appropriate.

11               The point, though, is that the witness is not being

12    threatened in court today during these proceedings, and

13    offering that benefit or opportunity to a witness in the middle

14    of his testimony, I guess, the very least you could say is it's

15    a little bit premature since he's not under danger in the

16    courthouse.

17               Presumably, the Government can wait until the witness

18    is done testifying before offering services to that witness.

19    It was an inappropriate conversation, and we don't understand

20    why the witness would be approached in the middle of his

21    testimony.

22               THE COURT:     Does the Government want to just put

23    something on the record on that front?

24               MR. MULROE:     Your Honor, I can only speak to what I

25    just heard from Mr. Smith, and I appreciate that he's also
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1     conveying it sort of second- or thirdhand.

2                I would note that these threats or these perceived

3     threats are not a recent development.          I understand that they

4     have been happening for some time, and we have produced

5     documentation of that in discovery.          All that is to say that I

6     cannot make a firm representation sitting here right this

7     moment, but I don't think this is the first time that the idea

8     of safety and security has arisen.         So I just would --

9                THE COURT:     All right.   I think it's appropriate,

10    though, while the witness's testimony plays out that there not

11    be that kind of contact.

12               MR. MULROE:     Yes, Your Honor.      Fully understood.

13    We'll make sure everyone on Government's side appreciates that.

14               I do just want to note that our understanding on this

15    side of the room is that Mr. Nugent is the one who approached

16    the agent and made that first contact, not the other way

17    around.

18               THE COURT:     All right.   If that's true, it puts a

19    different light on things.       Regardless, better not to engage

20    him while he's in the middle of testifying, I think is the best

21    path forward.

22               All right.     Look, I took a look at the Rules and I

23    took a look at -- I do think the Government gets a little

24    leeway here to ask these types of questions and does get to

25    jump in.    And I mean, it's cross-examination, and say that to
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1     the extent these things do impeach his testimony about what he

2     expected on January 6th, gets to ask him some -- you know,

3     these questions, they have a good-faith basis to ask them.

4                I do think -- and I don't know the contours of what

5     you-all plan to elicit.       I do think, kind of similar to the

6     line we drew with regard to other types of evidence, if we're

7     talking about things that happened -- and, Mr. Mulroe, you

8     raised this in terms of --

9                If we're talking about incidents that aren't

10    post-election, I think the argument that it impeaches his

11    testimony kind of starts to drift into 403 territory.               So if

12    we're talking about things he said, and I think the main thing

13    you already went into is something that was actually quite

14    close to January 6th, as I recall.         I think in December, late

15    December.

16               So I think that's sort of fair game to ask him about.

17    I don't think asking him about a rally that happened way before

18    the election or the year before is very -- I don't think

19    that -- let me put it this way, I don't think that passes the

20    403 bar in terms of impeaching his expectations about

21    January 6th.     I don't know whether you have anything in that

22    category, but as I thought about it over our break, I think

23    that line to draw makes sense.

24               MR. MULROE:     That's fair, Your Honor.        I just want to

25    note that I think the direct went all the way back to the
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1     summer and rallies in Portland, and talked about things like

2     whether Enrique Tarrio was cooperative with police during that

3     time frame.     I mean, that all goes to his expectations.                 If it

4     doesn't, I don't know why it's relevant.

5                THE COURT:     I don't know if it went to those same

6     expectations.     And, you know, maybe -- I take your point about

7     where the direct was, but when talking about violence and his

8     expectation of whether there would be violence or would not be

9     violence, I've generally drawn a line post-election, and I

10    think that is the line to draw here.

11               So if you have something -- you get to ask the

12    question.     If the defense doesn't think it impeaches, they can

13    object and I'll just rule.       But I think you get to dive in and

14    ask these questions.

15               Again, post-elections types of things, and we'll go

16    from there.

17               Any reason Ms. Harris shouldn't bring in the jury?

18               MR. MULROE:     Your Honor, I have one thing, as long as

19    we're here without the jury.           In the spirit of Your Honor's see

20    something, say something instruction.            There is a point on

21    January 4th or 5th, when Enrique Tarrio is in custody and Ethan

22    Nordean takes over a leadership role in the Ministry of

23    Self-Defense.

24               Mr. Nugent, the witness, sent messages to the group,

25    or at least a message, promoting Nordean as the leader and
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1     throwing his support behind him.         I intend to go into why that

2     was, what it was about Mr. Nordean and his qualities that made

3     Mr. Nugent think that he was the right one to lead this group.

4                And I do think that as part of that line of inquiry,

5     we are likely to introduce an image recovered from Mr. Nugent's

6     Google account that's sort of a stylized illustration of the

7     events that is known as the punch heard around the world.                 I

8     know that punch, itself -- I'm just pausing, Your Honor.

9                THE COURT:     Yeah, I understand.      I understand.

10               Mr. Mulroe.

11               MR. MULROE:     So we think that's relevant to the

12    witness's state of mind, to his reason for nominating Nordean

13    as the new leader and for the leadership qualities, and,

14    frankly, for the expectation of force.           It's not video.         So

15    it's not showing the events itself.          But it was something that

16    was in this witness's possession that I think is fair game for

17    us to ask him about.

18               THE COURT:     Mr. Smith.

19               MR. SMITH:     Your Honor, Mr. Nugent doesn't nominate

20    leaders of the MOSD.       There's no proffer that he does.          There's

21    no explanation, foundation for why Mr. Nugent's state of mind

22    is relevant to anything that's in the scope of cross.

23               And Mr. Nugent has not himself cited the punch heard

24    around the world as an explanation.          So to inject that would

25    be -- we think it's not relevant.         It's -- whatever probative
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1     value it has to explain the state of mind of someone who has no

2     control over MOSD decisions would be substantially outweighed

3     by the prejudice of showing Mr. Nugent punching someone.

4                And, Judge, we already kind of argued the video point

5     of the punch heard around the world, and the Court agreed that

6     it sort of excluded the references to that punch in isolation.

7     There was a brief flash of that video in the montage the

8     Government played, but I think the Court previously excluded it

9     for the other reasons.       So to inject it right now outside

10    the --

11               Okay, thank you.

12               THE COURT:     Okay.   Let me just hear -- Mr. Mulroe,

13    first of all, thank you for raising this, so we can deal with

14    it now.    Two, what does he say -- what does the witness -- you

15    said he promoted him in some way?

16               MR. MULROE:     Yes, Your Honor.

17               THE COURT:     Just tell me --

18               MR. MULROE:     Let me get the message up.        This was a

19    message that Mr. Nugent sent to the Ministry of Self-Defense

20    Main 2 chat on January 4th at 3 -- well, the afternoon of

21    January 4th, around 8:00 p.m.

22               Texted message is:     Hey, so right now, guys, we need

23    to fall under Rufio.       Let's not make anything public about

24    that, though.     We got to make sure someone is leading this

25    shit, though, so others don't try to pull rank.
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1                I'm not suggesting that Mr. Nugent had the authority

2     unilaterally to choose Nordean as the leader, but he certainly

3     was promoting him as the leader.            And that is, in fact, what

4     ended up happening.

5                THE COURT:      Yeah, but you don't have any reason to

6     link that in this photo, do you?            I mean -- or not the photo,

7     the event.

8                MR. MULROE:      Well, Your Honor, we're on cross.                I'm

9     not sure what he's going to say, but I think that I'll get that

10    out of him.     I think that I'll get him to testify that the

11    reason he thought Rufio should be in charge is because people

12    respected Rufio.        They looked up to Rufio.           He was a hero among

13    the Proud Boys, and he was a hero because of his fighting

14    ability.

15               THE COURT:      Let's put it this way.          I'm skeptical --

16    first of all, if -- I think -- Mr. Mulroe, let's put it this

17    way.    I think you can ask those questions on cross and see what

18    he says.    And, I mean -- but I'm skeptical that I would allow

19    you to go into this video on 403 grounds.

20               Mr. Smith.

21               MR. SMITH:      Your Honor, what other people thought is

22    not what Mr. Nugent thought.            So Mr. Nugent's feelings can be

23    asked, why did you promote him.           He can't be asked, why did

24    other people think you were right about promoting him.

25    Mr. Mulroe just said, well if he's asked why he had a
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1     reputation for being a fighter, he's asking what this witness,

2     why other people -- what other people thought about

3     Mr. Nordean.

4                THE COURT:     Mr. Mulroe can ask why he promoted him.

5     And if he says because of fighting, maybe that opens the door.

6     But I think, like -- even then, I think I would exclude the

7     reference to this on 403 grounds.

8                MR. SMITH:     Thank you, Your Honor.

9                THE COURT:     We'll see what he says, and if he says

10    fighting, we can take it up.

11               Ms. Hernandez.

12               MS. HERNANDEZ:     Thank you, Your Honor.

13               Did I hear Mr. Mulroe say that there's some tangible

14    item that they found on Mr. Nugent that they're going to

15    introduce, and what are we talking about?

16               THE COURT:     Ms. Hernandez, I'm sorry, but we've just

17    been having a discussion about this.          So I think it's tough to

18    now catch you up about it.

19               It's a --

20               MS. HERNANDEZ:     Sorry, I didn't hear it.

21               THE COURT:     It's a photo -- or is it a photo?

22               MR. MULROE:     We have it up on the Government laptop,

23    if we can just see it.       It's a stylized illustration, is the

24    best way to put it.

25               MS. HERNANDEZ:     I'm sorry, I thought there was some
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1     item, not the -- is that what you're talking about, the

2     cartoonish thing?

3                MR. MULROE:     It is a digital illustration found on

4     Mr. Nugent's Google Cloud storage account.

5                MS. HERNANDEZ:     I thought he was talking about some --

6     something that he had on him.

7                THE COURT:     I'd say -- look, I think you get to ask

8     the question about why he promoted him.           No question.      We've

9     heard a lot on direct about he was leading that day.              Fine.

10               I just don't think this -- on 403 grounds, I think --

11    again, let's see what he says, but my inclination is to not let

12    you do a photo of this on 403 grounds.           So let's just -- let's

13    proceed.

14               Anything further -- oh, well, there is one other thing

15    I want to raise.

16               MR. SMITH:     Your Honor, object to the extent that

17    Mr. Nordean's general fighting abilities are being raised to

18    show that on a particular occasion he did or did not do

19    something.     Again, that is character evidence.          So asking

20    whether he has a fighting ability to show that something

21    happened on January 6th is not appropriate.

22               THE COURT:     He can ask the question why he promoted

23    him, and did he promote him because of A, did he promote him

24    because of B, did he promote him because of fighting ability.

25    If he says, no, I didn't, then fine.          But that's a fair
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1     question given the evidence and the direct.              He gets to

2     explain, why did he promote him as the leader.

3                MR. SMITH:     What is that relevance here on direct?

4                THE COURT:     I think it's relevant, for example,

5     whether -- I mean, this whole case is about how -- in part

6     about your client being selected as the interim leader, right?

7                And this witness is promoting him as the interim

8     leader.    Why can't the Government ask why you took that action,

9     why did you promote him as the leader?

10               MR. SMITH:     Your Honor, there isn't any -- I brought

11    out on direct that he said Mr. Nordean was a leader.                That

12    isn't even challenged in direct.

13               THE COURT:     The whole question of why people acted the

14    way they did that day is -- or in the days surrounding

15    January 6th and on January 6th is exactly why you called him to

16    say, well, I acted the way I did, I expected this.                I mean, the

17    Government gets to ask him this question.

18               MR. SMITH:     Your Honor, whether he's a fighting

19    personality to show what -- that something happened on

20    January 6th, that's squarely character -- that is the

21    definition of it.

22               THE COURT:     They get to ask him.          I don't know what

23    his testimony is going to be.

24               MR. SMITH:     I think you said that Mr. Mulroe can ask,

25    did you promote him because he's a fighter?              And if the
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1     suggestion is he became the leader on January 6th because of

2     this character trait, that that is using a character trait to

3     show that on a particular occasion a person did or didn't do

4     something.

5                THE COURT:      It's having the witness explain why he

6     took an action he took.        I'm going to allow that, but I'm not

7     going to allow the photo or the video.

8                MR. SMITH:      Thank you.

9                THE COURT:      That's number one.      Number two --

10               MR. MULROE:      I'm sorry, Your Honor.        I heard that you

11    were reserving on the image, which is not a photo.               It's an

12    illustration, earlier.        But now you said you're not allow- -- I

13    just want to -- I won't attempt to do it if you're

14    categorically --

15               THE COURT:      I'm going to exclude it on 403 grounds.

16    You get the answer, but the photo or the video, I'm going

17    exclude on 403 grounds.

18               Let me just also -- this is -- I'm pivoting completely

19    here.    Just so you-all know, Ms. Harris got a request, just a

20    scheduling note.        One of our jurors, I think on Friday or over

21    the weekend actually broke a bone in her foot, and she has

22    asked that we -- the only appointment she could get to follow

23    up on that is Thursday afternoon.          So we're going to have to,

24    unfortunately, make Thursday a half day, as well as Tuesday.

25    Nothing we can do about it.
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1                The appointment -- the only appointment she could get

2     was at 2:00, and the doctor told her it was urgent that she be

3     seen by a physician this week.

4                MR. MULROE:     Your Honor, would you just remind us,

5     please.    Are we sitting on Friday this week or do we know yet?

6                THE COURT:     We are.      Let me just go back.         It's open

7     in my book.     Maybe I haven't informed you-all that, and maybe I

8     should have, but this was a week -- we've now stretched into a

9     week where I thought I was having another trial.                 We've

10    actually passed a number of those, but this was a week where I

11    thought I was going to be presiding over a different trial.                   So

12    I don't have anything on Friday scheduled.

13               So my plan was to sit Friday, and I should have let

14    you-all know that, and we're all so busy.                 So that's the answer

15    on Friday.

16               MR. JAUREGUI:     All day, Your Honor?

17               THE COURT:     As of right now, yes.

18               All right.     So half day Tuesday, half day Thursday, at

19    least with the jury and then -- all right.                Thank you.     I

20    should have let you-all know that.

21               All right.     Let's bring in the jury.

22               MR. PATTIS:     Judge, while we have a moment, will we be

23    having a charge conference any time soon?

24               THE COURT:     So I think that's a good idea.             I'm

25    thinking about whether Thursday might be a time to do that, at
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1     least to discuss the key things.

2                MR. PATTIS:     It would be helpful to know, moving into

3     closings.

4                THE COURT:     So that's sort of my -- if I can get

5     myself up to speed, I think that's -- we may be able to do that

6     on Thursday afternoon.

7                (Witness takes the stand.)

8          (Whereupon, the jury enters the courtroom and the following

9     proceedings were had:)

10               THE COURT:     All right.   Everyone may be seated.

11    Welcome back, ladies and gentlemen.

12               Mr. Mulroe, you may proceed.

13               MR. MULROE:     Thank you, Your Honor.

14    BY MR. MULROE:

15    Q.   Mr. Nugent, in the time frame between the presidential

16    election and January 6th, you began more and more to see the

17    police as your enemies; isn't that true?

18    A.   I wouldn't say so.

19    Q.   You wouldn't say so?      Mr. Nugent, as of November 29th,

20    2020, you believed it might be time to, quote:             Turn our backs

21    on the cops.

22         Isn't that true?

23    A.   I'm not sure what you're referring to.

24    Q.   As of November 29th, 2020, you believed that, quote:                We

25    can't allow the cops to become social justice warriors.
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1          Isn't that right?

2     A.   I'm not aware of this.

3     Q.   You believed at that time, quote:           They serve a purpose.

4     They are needed.        Most are good dudes.       But if they're going to

5     play games, it's time to play.

6          Isn't that right?

7     A.   I would have to see this.          I don't know.

8                 MR. MULROE:     Ms. Rohde, can we have --

9                 DEFENSE COUNSEL:     Objection to not inconsistent.

10                THE COURT:     Overruled.

11                MR. MULROE:     1404G just to the witness please.

12                (Published to witness.)

13                MR. MULROE:     And if we could go to Page 2, please.

14    BY MR. MULROE:

15    Q.   Do you see the message at the top?

16    A.   Yes.

17                MR. MULROE:     Can we zoom in a little bit so it takes

18    up more of the screen?

19    BY MR. MULROE:

20    Q.   That's your Telegram name, correct?

21    A.   Yes.

22                MR. MULROE:     Go to Page 3 at the top.

23    BY MR. MULROE:

24    Q.   That's another message from you, isn't it?

25    A.   Yes.
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1                 MR. MULROE:     And then the bottom of Page 3.         And this

2     is a message from you as well, isn't it?

3     A.   Yes.

4                 MR. MULROE:     Move to admit 1404 G.

5                 THE COURT:     It may be shown to the jury.

6          (Government Exhibit 1404G received in evidence.)

7                 MR. MULROE:     Publish that.     Go to Page 2.

8     BY MR. MULROE:

9     Q.   Here at the top, I'm highlighting on the side in yellow,

10    Mr. Nugent.     That is you sending the message:           If they want to

11    do that, it's time we turn our backs on the cops.

12         Correct?

13    A.   Yes, that's me.

14                MR. MULROE:     And go to the top of Page 3.

15    BY MR. MULROE:

16    Q.   This is you saying:       We can't allow cops to become social

17    justice warriors.

18         Correct?

19    A.   Correct.

20                MR. MULROE:     And the bottom of Page 3.

21    BY MR. MULROE:

22    Q.   This is you saying:       They serve a purpose.        They are

23    needed.     Most are good dudes but if they going to play games,

24    it's time the play.

25         That's your message, right?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 98 of 216   14606




1     A.   Correct.

2     Q.   When you said "time the play," you're not talking about

3     hopscotch, right?

4     A.   I mean, potentially.

5     Q.   When you say "play" there, it's kind of like when you talk

6     about toys in some of your other messages, right?

7     A.   In some of my other messages?

8     Q.   Like when Antifa doesn't stick around very long, we bring

9     out the toys?

10               MS. HERNANDEZ:     Objection.

11               THE COURT:     Overruled.

12               THE WITNESS:     I'm not sure what you're referring to.

13    BY MR. MULROE:

14    Q.   When you say "toys," you mean guns, right?

15    A.   Again, I'm not sure what you're referring to.

16    Q.   Have you ever had any other toys to confront Antifa with?

17               MS. HERNANDEZ:     Objection, Your Honor.        Asked and

18    answered.

19               DEFENSE COUNSEL:     Also argumentative.

20               THE COURT:     Sustained.   Asked and answered.

21    BY MR. MULROE:

22    Q.   So that was the end of November.         And then as of

23    January 2nd, 2021 --

24               MR. MULROE:     You can take the exhibit down,

25    Ms. Harris.
     Case 1:21-cr-00175-TJK    Document 721   Filed 03/23/23   Page 99 of 216   14607




1     BY MR. MULROE:

2     Q.   As of January 2nd, just a few days before January 6th, you

3     believed it was time for the Proud Boys to, quote:               Change up

4     our attire and show the commie police we will not take their

5     tyranny.

6          Isn't that right?

7     A.   I don't remember this.

8                 MR. MULROE:     Just for the witness, Exhibit 1404H,

9     please.

10    BY MR. MULROE:

11    Q.   Do you see that message right at the top?

12    A.   Yes.

13    Q.   That's your message, isn't it?

14    A.   Yes.

15                MR. MULROE:     We move to admit -- or if Your Honor

16    prefers, just publish 1404H.

17                THE COURT:     Let's publish it to the jury.

18         (Whereupon, the exhibit was published in open court.)

19    BY MR. MULROE:

20    Q.   Mr. Nugent, on January 22nd, 2021, you sent this message,

21    didn't you:     It's about time we change up our attire and show

22    the commie police we will not take their tyranny; they

23    straight-up assaulted people today.

24         That was you, wasn't it?

25    A.   Yes.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 100 of 216    14608




1      Q.   Let's talk about that phrase you used, "change up our

2      attire."    Proud Boys have colors, right?

3      A.   Correct.

4      Q.   And when you're wearing the colors, people know that you're

5      Proud Boys, correct?

6      A.   Yes.

7      Q.   When you're not wearing your colors, people might not

8      realize that you're Proud Boys, correct?

9      A.   Correct.

10     Q.   You agree in some situations, it can be helpful to conceal

11     your identity?

12     A.   Absolutely.

13     Q.   There have been times when you've driven unregistered cars

14     so you couldn't be tracked?

15                 MR. JAUREGUI:   Objection.     Foundation.

16                 THE COURT:   Sustained.

17     BY MR. MULROE:

18     Q.   There are times you've discussed in chats driving

19     unregistered cars --

20                 MR. JAUREGUI:   Objection.     Relevance and scope, Judge.

21                 THE COURT:   Sustained as to relevance and scope.

22     BY MR. MULROE:

23     Q.   Let's talk about Proud Boys colors, specifically.             You,

24     yourself, Mr. Nugent, have directed other Proud Boys not to

25     wear colors on at least one occasion; isn't that right?
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 101 of 216   14609




1                 MS. HERNANDEZ:     Scope.

2                 THE COURT:    Well, let me hear you at sidebar.

3           (Whereupon, the following proceedings were had in open

4      court:)

5                 THE COURT:    When was this event, Mr. Mulroe?

6                 MR. MULROE:    Post-election, Your Honor.

7                 THE COURT:    What are the circumstances?

8                 MR. MULROE:    It is a chat in which Mr. Nugent and

9      other Proud Boys are going to a place together, or gathering

10     people to go to a place.       He tells the others don't wear --

11     you're going to be doing recon; don't wear colors but be ready

12     to fight.

13                THE COURT:    All right.     I think it's within -- okay.

14     Fair enough.

15                MS. HERNANDEZ:     Your Honor, 403, beyond the scope,

16     hearsay.    I'm just saying 403, beyond the scope, hearsay.

17                THE COURT:    It's impeachment evidence.

18                You may proceed, Mr. Mulroe.

19          (Whereupon, the following proceedings were had in open

20     court:)

21                MR. MULROE:    Can we have the screen for the witness?

22     Let's do 1404F.

23                Can we scroll down a bit?        Right there.      Let's go up

24     just a little bit.

25     BY MR. MULROE:
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 102 of 216    14610




1      Q.   So you see a message from yourself to your own screen,

2      correct, Mr. Nugent?

3      A.   Correct.

4      Q.   And then there's a message right above yours that you

5      appear to be responding to?

6      A.   Yes.

7                  MR. MULROE:   We move to publish 1404F.

8                  THE COURT:    Permission to publish is granted.

9           (Whereupon, the exhibit was published in open court.)

10     BY MR. MULROE:

11     Q.   Mr. Nugent, on November 29th, 2020, a member of the chat,

12     Dan 2, says:     I haven't heard from Flip or anyone today.

13     Should get ahold of Sarge.       But I'm sure any Proud Boys who are

14     available should get their butts up there and show some

15     numbers, if they can.

16          Right?

17     A.   Yes.

18     Q.   And then after that, you send a message and you say:                 This

19     will be recon only, for now.          No colors.

20          Correct?

21     A.   Yes.

22                 MR. MULROE:   And I'll clear the highlighting,

23     Ms. Rohde, if you would scroll down just a bit.

24     BY MR. MULROE:

25     Q.   You sent another message just a few seconds later, right?
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 103 of 216   14611




1      A.   Yes.

2      Q.   And you said:     Come ready to fight, though.

3      A.   Yes.

4                  MS. HERNANDEZ:    Scope, Your Honor.

5                  THE COURT:    Overruled.

6                  MR. MULROE:   We can take the exhibit down.

7      BY MR. MULROE:

8      Q.   I want to get to January 6th, Mr. Nugent.

9           Now, you were inspired to go to January 6th based on what

10     you saw happen in D.C. in December; is that right?

11     A.   Yes.

12     Q.   And part of what you learned about what happened at that

13     Proud Boys rally in D.C. in December was through social media,

14     correct?

15     A.   Yes.

16                 MR. MULROE:   636, which is in evidence.

17                 MR. SMITH:    Objection.    Scope, Your Honor.

18                 THE COURT:    Overruled.

19     BY MR. MULROE:

20     Q.   Mr. Nugent, do you remember seeing a post by Enrique

21     Tarrio, as follows, talking about how silent, big dick ninjas

22     were roaming the streets in D.C. on December 12th?

23     A.   I don't recall that.

24     Q.   What about the one about how Antifa has been running

25     from --
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 104 of 216    14612




1                 MR. SMITH:    Objection.    Asked and answered,

2      foundation.

3                 THE COURT:    Sustained.

4                 MS. HERNANDEZ:     And move to strike, Your Honor.            He

5      said he didn't see it.

6                 THE COURT:    Sustained.

7                 Mr. Mulroe, I'll just ask you to show these to the

8      witness and see if he -- if you can lay a foundation.

9                 MR. JAUREGUI:    Judge, it's published for the jury.

10                THE COURT:    It's already in evidence.

11                MR. MULROE:    Can I have the screen just for the

12     witness, please.

13                601-24.

14     BY MR. MULROE:

15     Q.   Do you remember this post by Ethan Nordean's Parler?

16                MR. SMITH:    Objection.    Scope.

17                THE COURT:    Overruled.

18     BY MR. MULROE:

19     Q.   Do you remember seeing this on Parler?

20     A.   Not for sure.

21                MR. MULROE:    Let's do 603-30.

22                Scroll down, please.

23     BY MR. MULROE:

24     Q.   Do you remember seeing this post by Joe Biggs to Parler

25     after December 12th?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 105 of 216   14613




1      A.   I don't remember if I did.

2      Q.   You knew, though --

3                 MR. SMITH:    Your Honor, this is published.          There's

4      no -- objection.       Foundation.

5                 THE COURT:    Sustained.

6                 MR. MULROE:    We can take the screen down.

7      BY MR. MULROE:

8      Q.   Mr. Nugent, you knew, though, that there had been some

9      serious violence in D.C. on December 12th, correct?

10                MR. SMITH:    Objection.    Misstates the testimony.

11                THE COURT:    Overruled.    The witness can answer the

12     question.

13     BY MR. MULROE:

14     Q.   You knew there had been violence in D.C.?

15     A.   Can you repeat the question?       Sorry.

16     Q.   You knew that there had been violence at the December rally

17     in D.C.?

18     A.   Correct.

19     Q.   You talked about that in some of your Telegram chats,

20     correct?

21     A.   Possibly, yes.

22                MR. MULROE:    Just for the witness, can we have 1419A.

23     BY MR. MULROE:

24     Q.   And about a third of the way down on the page, it's another

25     message from you, isn't it?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 106 of 216     14614




1                 MS. HERNANDEZ:     Objection.    Hearsay.

2                 MR. SMITH:    Scope.

3                 THE COURT:    I'll hear you at sidebar.

4           (Whereupon, the following proceedings were held at sidebar

5      outside of the presence of the jury:)

6                 THE COURT:    Mr. Mulroe, what's the relevance here?                I

7      understand you had a basis to ask the questions.             He said

8      before he understood that he was inspired to come to

9      January 6th by some of this stuff.         He said yes.      Fine.       But

10     what are we doing here?

11                MR. MULROE:    Well, I think if what happened in

12     December is what inspired him to come in January, then the jury

13     needs to know what was his understanding of what happened in

14     December.

15                THE COURT:    Why don't you just ask -- fair enough.

16                MS. HERNANDEZ:     Your Honor, the bottom line is this --

17     this is incomprehensible in this sense.           Whatever he

18     understood -- well, he was able to come on January 6th and not

19     commit any violence.      So it's not the understanding that the

20     Government is trying to get to whatever was in his mind.

21                He came to be with -- he didn't commit any violence.

22     He didn't destroy any property.        So all of this seems very

23     extraneous to the original direct, and, also, I don't know what

24     he's trying to prove.      That the Proud Boys can never attend a

25     rally without committing violence?         That's inconsistent with --
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 107 of 216   14615




1                 THE COURT:    He's trying to impeach the witness who

2      said, I was shocked there was physical -- that what happened

3      there that day was violence.

4                 So, Mr. Mulroe, you may proceed.

5           (Whereupon, the following proceedings were had in open

6      court:)

7      BY MR. MULROE:

8      Q.   Mr. Nugent, you knew that in D.C. in December, some of your

9      dudes stomped a dude out, correct?

10     A.   Yeah, I mean, I don't really recall any of this, but yeah.

11                MR. MULROE:    Just for the witness, 1418B.

12     BY MR. MULROE:

13     Q.   Mr. Nugent, you knew that at the December rally, the Proud

14     Boys beat a dude unconscious and the cops saved him, correct?

15                MR. SMITH:    Objection.    Scope, 403.

16                THE COURT:    All right.

17          (Whereupon, the following proceedings were held at sidebar

18     outside of the presence of the jury:)

19                THE COURT:    Mr. Mulroe, I'm going to sustain the

20     objection.    If you want to ask him what about these prior

21     things inspired him to be there, that's fine.            But dragging

22     through, like, each of these things, I don't see the relevance.

23                I understand you want to ask him about his

24     understanding of what happened, and if some of these other

25     statements mean you can cross him about it, fine.             But just
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 108 of 216   14616




1      dragging these statements that he made about this through him

2      now -- you can ask him -- there's no reason why you can't just

3      ask him these questions, questions about what his understanding

4      was of this prior event without going through each of these

5      statements.

6                 MR. SMITH:    Your Honor, we would make a cumulative

7      argument for things not related to January 6th.             Mr. Mulroe

8      indicated we're moving to January 6th, and now we're back in

9      December --

10                THE COURT:    Mr. Smith, okay.

11                Mr. Mulroe, you can ask him all about what his

12     understanding was.      There's no reason to go back through these

13     statements unless he says something inconsistent.

14                MR. MULROE:    Yes, Your Honor.

15          (Whereupon, the following proceedings were had in open

16     court:)

17     BY MR. MULROE:

18     Q.   December is what inspired you to come in January, right?

19                MR. SMITH:    Objection.

20                THE COURT:    Overruled.

21     BY MR. MULROE:

22     Q.   December is what inspired you to come in January, correct?

23     A.   I would say so, yeah.

24     Q.   And you were not just coming to D.C. in January by

25     yourself; you were going as part of the Ministry of
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 109 of 216       14617




1      Self-Defense, right?

2      A.   I wouldn't say that's true.

3      Q.   You were a member of the Ministry of Self-Defense, correct?

4      A.   I don't know that I was a member of it, but I was in the

5      chat.

6                 DEFENSE COUNSEL:     I'm hearing a little buzzing.            I

7      think the Court is too.

8                 THE COURT:    Spoken like a true defense attorney.            Do

9      we know --

10                DEFENSE COUNSEL:     Objection, 403.

11                THE COURT:    Do we know whether -- do we really know

12     what phone is making the buzzing?

13                MR. McCULLOUGH:     Your Honor, it sounds to me like it

14     may be one of the handheld microphones.           If everybody would

15     surreptitiously turn them off, that might do it.

16                THE COURT:    Mr. Pattis, that special mic you had, was

17     it never working?

18                MR. PATTIS:    I've turned it off and gave it back to

19     Ms. Harris, sir.

20                THE COURT:    Because we haven't had this problem, I

21     thought that could have been the culprit.

22                Wow.   It sounds quiet now, though.

23                MR. MULROE:    Thank you, Your Honor.        The Court's

24     indulgence.

25
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 110 of 216   14618




1      BY MR. MULROE:

2      Q.   So, Mr. Nugent, you were a member of the Ministry of

3      Self-Defense chat, right?

4      A.   Correct.

5      Q.   And they didn't let people in the chat unless they were

6      part of the group, right?

7      A.   I mean, I don't particularly remember the guidelines behind

8      the chat.

9      Q.   You knew that there were guidelines, though?

10     A.   Yeah.

11     Q.   And you knew that you were invited to be part of this?

12     A.   Yes.

13     Q.   And you knew that this was a selective group?

14     A.   From my understanding, people coming to Washington D.C.,

15     yes.

16     Q.   And you knew that the Ministry of Self-Defense was a

17     secretive group?

18     A.   Yes.

19     Q.   You weren't supposed to tell others about it, right?

20     A.   It was mentioned, yeah, that we weren't supposed to.

21     Q.   Mr. Nugent, you were not a leader of the Ministry of

22     Self-Defense, were you?

23     A.   No.

24     Q.   You were a member, correct?

25     A.   Yeah.   I guess you could call me a "member," yes.
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 111 of 216   14619




1      Q.   But along with other members, you were in some chat groups

2      where there was discussion of preparations, right?

3      A.   Probably.    I don't really recall.

4      Q.   Mr. Nugent, I want to ask you some questions about strategy

5      and tactics.     Are you familiar with those terms?

6      A.   Yes.

7      Q.   When we talk about a strategic objective, that's sort of

8      the overall goal, right?

9      A.   Right.

10     Q.   When we talk about tactics, those are the steps you take to

11     achieve the goal, correct?

12     A.   Yes.

13     Q.   In terms of strategic objective --

14                 MS. HERNANDEZ:    Scope, Your Honor.

15                 THE COURT:    Overruled.

16     BY MR. MULROE:

17     Q.   In terms of strategic objective, you knew there was an

18     overall goal for the D.C. rally in January, didn't you?

19     A.   I mean, I would say yes.

20     Q.   And you made reference to that goal in some of your chats

21     through the Ministry of Self-Defense group, right?

22     A.   I'm unsure.

23                 MR. MULROE:   Can we have just for the witness 503N1, N

24     as in Nancy.

25     BY MR. MULROE:
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 112 of 216   14620




1      Q.   That's a message from your Telegram handle, correct,

2      Mr. Nugent?

3      A.   Yes.

4      Q.   And have you seen this message before?

5      A.   I don't know that I've seen it before.            I mean, I obviously

6      wrote the message.

7      Q.   This message you sent on December 30th, 2020, correct?

8      A.   Yes.   2030.

9                  MR. MULROE:   Move to admit 503N1.

10                 DEFENSE COUNSEL:    No objection.

11                 THE COURT:    It will be admitted, and permission to

12     publish.

13          (Government Exhibit 503N1 received in evidence.)

14          (Whereupon, the exhibit was published in open court.)

15     BY MR. MULROE:

16     Q.   Mr. Nugent, on December 30th, you sent a message to the

17     Ministry of Self-Defense main group saying:            Big thing with

18     this event is we need to get everyone focused on a goal of the

19     event, correct?

20     A.   Correct.

21     Q.   But it wasn't your job to set that goal, was it?

22     A.   No.

23     Q.   It was the leadership who decided on the overall strategic

24     objective, correct?

25     A.   I would say so, yes.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 113 of 216   14621




1      Q.   More specifically, Enrique Tarrio, as the top leader, had

2      the final say, didn't he?

3      A.   I'm not totally sure on that, whether it was more of an

4      East Coast-based thing or if he had the final say.

5      Q.   It was your understanding that Enrique Tarrio was the head

6      of the Ministry of Self-Defense, though, correct?

7      A.   Correct.

8      Q.   You also knew that the leadership was putting tactics into

9      place to help achieve that goal, right?

10     A.   I mean, what do you mean by "tactics"?

11     Q.   Well, one of the tactics was to not wear colors, correct?

12     A.   Correct.

13     Q.   And you knew that the purpose of that was to blend in?

14     A.   Correct.

15     Q.   We've already talked about why that's useful, right?

16     A.   Correct.

17     Q.   Another part of the tactics for January 6th was making sure

18     the group's plans weren't revealed to law enforcement, correct?

19     A.   I wasn't really sure if that was a thing or not, but...

20                MR. MULROE:    Can we have the screen just for the

21     witness.    507N1, please.

22                And if we could zoom in a bit on the middle message

23     there.

24     BY MR. MULROE:

25     Q.   There's another message from you, Mr. Nugent?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 114 of 216   14622




1      A.   Yes.

2      Q.   This one is -- it's in UTC Time Zone, but around 1:00 in

3      the morning on January 5th, 2021.

4      A.   Yeah, that's...

5                  MR. MULROE:   Move to admit 507N1.

6                  DEFENSE COUNSEL:    No objection.

7                  THE COURT:    It will be admitted, and permission to

8      publish.

9           (Government Exhibit 507N1 received in evidence.)

10          (Whereupon, the exhibit was published in open court.)

11     BY MR. MULROE:

12     Q.   This is a message that you sent to the Ministry of

13     Self-Defense group saying:       We need an admin to go through this

14     chat and nuke everything.

15          Correct?

16     A.   Yes.

17     Q.   And you sent that message shortly after you-all learned

18     that Enrique Tarrio had been arrested, right?

19     A.   Correct.

20     Q.   And you knew there was a chance that the police had his

21     phone, right?

22     A.   Correct.    That's probably -- yeah.

23     Q.   And you didn't want all the Ministry of Self-Defense chats

24     to come into the hands of law enforcement, right?

25     A.   Potentially, yeah.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 115 of 216   14623




1      Q.   This was really nothing like those previous rallies where

2      you-all would tell the police your plans, right?

3      A.   That was above my scope of what I was privy to, I guess.

4      Q.   You didn't tell any police officers your plans for

5      January 6th?

6      A.   Myself, no, I did not.

7      Q.   And you didn't have any reason to think that Enrique Tarrio

8      told the police his plans for January 6th?

9      A.   I didn't have any reason to think he didn't.

10     Q.   You have no reason to think one way or the other --

11                DEFENSE COUNSEL:     Objection, Judge.       May we be heard?

12          (Whereupon, the following proceedings were held at sidebar

13     outside of the presence of the jury:)

14                MR. PATTIS:    My understanding is that the Government

15     is threatening to -- that Mr. Lamond has been advised that he

16     can potentially face prosecution, and if Mr. Tarrio was in

17     touch with Lamond and the Government knows and they're asking

18     questions in his name, I don't think they can do so in good

19     faith because they know the truth to be otherwise.             And their

20     goal is to strike fair but hard blows, but not unjust ones.

21                THE COURT:    Mr. Mulroe.

22                MR. MULROE:    We don't have any reason to think that

23     that I'm aware of, Your Honor.        They've got Lamond's phone.         I

24     know that we're making arraignments, so they'll be able to

25     offer any relevant parts into evidence.           But I'm asking this
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23    Page 116 of 216   14624




1      witness about his perceptions and his experience.

2                 MR. PATTIS:    Expectations of others, I think that's

3      when things went a little awry.

4                 MR. JAUREGUI:    Judge, especially since the Government

5      knows that Tarrio did communicate with Lamond.              Not only that,

6      but that Lamond communicated that up through the chain of

7      command to other law enforcement officers and other agencies.

8                 That's why we're working with the Government right now

9      to get us an FBI agent in here that can testify as to Lamond's

10     extractions because there was this very prosecutor that gave

11     the insinuation that when he redirected Dubrowski, that Lamond

12     was a dirty cop and that Lamond was giving information --

13     leaking information, and I think it was not giving him any

14     information.

15                THE COURT:    All right.    So let's just do this.

16     Mr. Mulroe, you've already asked the question.              He said, I

17     don't have any reason to think he didn't.              You got that in

18     before there was an objection.        Why don't you just move on.

19                MR. MULROE:    Yes, Your Honor.

20          (Whereupon, the following proceedings were had in open

21     court:)

22     BY MR. MULROE:

23     Q.   Mr. Nugent, another part of the tactics in place for the

24     Ministry of Self-Defense was putting the right people into

25     leadership roles, true?
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1      A.   I'm not sure.

2                  MS. HERNANDEZ:    Foundation, Your Honor.

3                  THE COURT:   Overruled.

4                  The witness can answer if he knows.

5                  THE WITNESS:   I'm not really sure where you're going

6      with that, I guess.

7      BY MR. MULROE:

8      Q.   Well --

9      A.   I don't understand the question.

10     Q.   Some people are better leaders than others; do you agree

11     with that?

12     A.   Yes.

13                 MS. HERNANDEZ:    Objection.    He answered the question

14     already.    Asked and answered.

15                 THE COURT:   Overruled as to the -- overruled.

16     BY MR. MULROE:

17     Q.   You would agree with me that some people are better leaders

18     than others?

19     A.   Yes.

20     Q.   And before he was arrested, Enrique Tarrio was the one

21     calling most of the shots in the Ministry of Self-Defense,

22     right?

23     A.   Yes.

24     Q.   After Enrique Tarrio was arrested, you-all needed to make

25     some adjustments on that front, correct?
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 118 of 216   14626




1                  DEFENSE COUNSEL:    Objection.      Vague, "you-all."

2                  THE COURT:    Overruled.

3                  The witness can answer the question.

4      BY MR. MULROE:

5      Q.   You had to make adjustments in the Ministry of Self-Defense

6      after the top leader was taken into police custody, correct?

7      A.   Yes.

8      Q.   You had an opinion about who would be -- the best choice to

9      lead the group would be, right?

10     A.   I believe so, yes.

11                 MR. MULROE:   Just for the witness, 510N1.

12     BY MR. MULROE:

13     Q.   Do you recognize this message from you, Mr. Nugent?

14     A.   Yes.

15     Q.   A message from the Ministry of Self-Defense Main 2 on the

16     4th of January, 2021?

17     A.   Yes.

18                 MR. MULROE:   We move to admit 510N1.

19                 DEFENSE COUNSEL:    No objection.

20                 THE COURT:    It will be admitted, and permission to

21     publish.

22          (Government Exhibit 510N1 received in evidence.)

23          (Whereupon, the exhibit was published in open court.)

24     BY MR. MULROE:

25     Q.   After Tarrio was arrested, Mr. Nugent, you told others to
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 119 of 216   14627




1      follow:     Hey, so right now, guys, we need to follow under Rufo.

2           That's Rufio, right?

3      A.   Yes.

4      Q.   Let's not make anything public about that, though.             We've

5      got to make sure someone is leading this shit, though, so

6      others don't try to pull rank.

7           That was your message?

8      A.   Yes.

9      Q.   Mr. Nugent, this was your message, but this was not your

10     idea, correct?

11     A.   That's a fair statement, yeah.

12     Q.   Ethan Nordean told you that he was the one who ought to be

13     in charge after Tarrio was arrested, correct?

14     A.   I believe we talked about it, yes.

15     Q.   You agreed with that, didn't you?

16     A.   Yes.

17     Q.   You thought he was the right man to lead the group?

18     A.   Correct.

19     Q.   Ethan Nordean commanded a lot of respect, didn't he?

20     A.   Can you kind of elaborate on that?

21     Q.   Well, within the Proud Boys, guys were willing to follow

22     Rufio, right?

23     A.   Yes.

24     Q.   Guys looked up to Rufio, right?

25     A.   Correct.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 120 of 216   14628




1      Q.   Fair to say Rufio had almost a heroic reputation in the

2      Proud Boys?

3      A.   Fair to say, yes.

4      Q.   And what made him heroic was his ability to use force,

5      right?

6                 MR. SMITH:    Objection.    Lack of evidence.

7                 THE COURT:    Overruled.

8                 MS. HERNANDEZ:     Objection.    Scope, Your Honor.

9                 THE COURT:    Overruled.

10     BY MR. MULROE:

11     Q.   He was famous for his fighting ability, wasn't he?

12     A.   Famous, yes.

13     Q.   You looked up to him for that, didn't you?

14     A.   Among many things, sure.

15     Q.   You had a file in your Google storage account that

16     celebrated his fighting ability, right?

17                MR. SMITH:    Objection.    Mischaracterizes --

18                DEFENSE COUNSEL:     Objection.     Vague.

19                THE COURT:    Overruled.

20     BY MR. MULROE:

21     Q.   Do you know what I'm referring to?

22     A.   I don't for sure.

23                MR. MULROE:    The screen just for the witness, please.

24                MR. SMITH:    Your Honor, this has been --

25                MR. MULROE:    Different exhibit, Your Honor.
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 121 of 216   14629




1                  1409, please.

2      BY MR. MULROE:

3      Q.   Do you recognize that image, Mr. Nugent?

4      A.   I do.

5      Q.   And that was in your Google account, right?

6      A.   It must have been, yeah.         I don't remember it.

7                  MR. MULROE:    Move to admit --

8                  THE WITNESS:    I don't remember it being in my account.

9      BY MR. MULROE:

10     Q.   You know the image, though, right?

11     A.   Yes.

12                 MR. MULROE:    Move to admit 1409.

13                 DEFENSE COUNSEL:    Objection.      Relevance, scope, 403.

14                 THE COURT:    Sustained on 403.

15     BY MR. MULROE:

16     Q.   Ethan Nordean, apart from being known to you for his

17     fighting ability, he sometimes spoke in very blunt terms about

18     the need to use force, didn't he?

19     A.   I don't really remember a specific time.            But I'm sure at

20     times, yeah.

21     Q.   Did you ever watch or listen to his podcast, Rebel Talk

22     with Rufio?

23                 MR. SMITH:    Objection.    Outside the scope, 403, 401.

24                 THE COURT:    Sustained as outside the scope.

25     BY MR. MULROE:
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 122 of 216   14630




1      Q.   Mr. Nugent, you were not a Proud Boys hero, like Ethan

2      Nordean was, were you?

3      A.   No.

4      Q.   You consider yourself a nobody who was just doing what you

5      could to help?

6      A.   That sounds about right.

7                 MR. MULROE:    May we have just for the witness 510N2?

8      BY MR. MULROE:

9      Q.   Do you remember sending this message to the Ministry of

10     Self-Defense?

11     A.   Yeah.

12                MR. MULROE:    Move to admit 510N2.

13                MR. SMITH:    Relevance to him being nobody.

14                DEFENSE COUNSEL:     Also 403.

15                THE COURT:    I'll overrule the objection.         It should be

16     admitted, and permitted to publish.

17          (Government Exhibit 510N1 received in evidence.)

18          (Whereupon, the exhibit was published in open court.)

19                MS. HERNANDEZ:     Scope, Your Honor.

20                THE COURT:    Overruled.

21     BY MR. MULROE:

22     Q.   On the 5th, Mr. Nugent, you sent to the group the

23     following:    I'm nobody.     Doing what I can to help.        Enrique, of

24     course, just got out of a long night of a couple hots and a

25     cot, and is settling in.       So we're working a plan out.         I'll
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1      post the details I know, as soon as I know more, but yes, we

2      will be meeting tomorrow in the morning and continuing on with

3      the plan.    Just understand, shit clearly went south with his

4      arrest, but they are continuing on with tomorrow.

5           When you said "they are continuing on," you were referring

6      to the Ministry of Self-Defense leaders, correct?

7      A.   To be honest, no.     It's probably just a grammar mistake.

8      Q.   Mr. Smith asked you about the Airbnb you went to; is that

9      right?

10     A.   You said the one that we went to?

11     Q.   The night before January 6th, you gathered with some others

12     at an Airbnb, correct?

13     A.   Correct.

14     Q.   There was a meeting there, right?

15     A.   Correct.

16     Q.   It was crystal clear to you at that meeting that Ethan

17     Nordean and Joe Biggs were the ones in charge, correct?

18     A.   Correct.

19     Q.   Joe Biggs, he was not always the most popular guy.

20          Do you agree with that?

21     A.   I mean, under what pretense that would be?

22     Q.   Some people had issues with Biggs, right?

23     A.   What's that?

24     Q.   Some people had issues with Biggs, right?

25     A.   Yes.
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1      Q.   That was because he could be kind of over the top in his

2      rhetoric sometimes?

3      A.   I would hate to speculate on other people's opinion.                But,

4      yes.   Essentially, yes, he could be very brass.

5      Q.   Kind of inflammatory?

6      A.   Yes.

7      Q.   On the night of the 5th at that Airbnb, though, people were

8      ready to respect Joe Biggs's leadership, correct?

9                  DEFENSE COUNSEL:    Objection.     Vague.

10                 THE COURT:   Overruled.

11     BY MR. MULROE:

12     Q.   You can answer.

13     A.   Can you repeat the question?

14     Q.   So we talked about how some guys had issues with Biggs, but

15     not at that Airbnb, right?       Everyone at that Airbnb was ready

16     to get behind Biggs, correct?

17     A.   I believe so, yes.

18                 MR. SMITH:   Your Honor, there's a scheduling issue.

19     We have to alert the court to an emergency.

20          (Whereupon, the following proceedings were held at sidebar

21     outside of the presence of the jury:)

22                 MR. SMITH:   -- informed me that he must leave at

23     5:00 o'clock because of his cruise.         If Mr. Mulroe continues in

24     this vein, in what we think are cumulative questions, we will

25     have no opportunity for recross unless we continue past 5:00.
     Case 1:21-cr-00175-TJK    Document 721   Filed 03/23/23    Page 125 of 216   14633




1                 THE COURT:     I don't know what you want me to say.            We

2      proceeded -- Mr. Smith, we proceeded --

3                 MR. SMITH:     Your Honor, we have a right to redirect.

4      So if our right to redirect is shut down by cumulative

5      questioning, we're objecting on Sixth Amendment grounds, the

6      right to cross-examine the witness.

7                 THE COURT:     It's not cumulative.          I don't know why we

8      had another witness on, if we thought this was going to be an

9      issue earlier today.

10                MR. SMITH:     Your Honor, there have been objections by

11     other defense counsel that Nordean was not -- this is not --

12                THE COURT:     Mr. Mulroe, how much longer do you have?

13                MR. MULROE:     I think we're going to go past 5:00.            I

14     think you should have called him first.

15                MR. SMITH:     Your Honor, we were not informed, Your

16     Honor, that we would lose our right to redirect.               We had --

17     there were questions that go directly to the heart of this

18     case.   This is our most essential witness, Your Honor.               We

19     cannot be denied our right to redirect.

20                THE COURT:     And so I should cut off the Government's

21     right to cross?        I don't know what you want -- what you're

22     asking.

23                MR. SMITH:     Your Honor, I'm asking to go past

24     5:00 o'clock, if Mr. Mulroe is saying he will take all of the

25     remaining time.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 126 of 216   14634




1                 THE COURT:    Look, let me just also say, we can

2      probably go another -- from the jury's perspective, this is a

3      day when I know we can go a little bit later until about 5:15,

4      if that helps or matters.

5                 MR. SMITH:    Your Honor, if the Government now runs out

6      the clock and we don't have redirect, Your Honor, that is just

7      not -- we had no opportunity to fix this, Your Honor.              The

8      first witness this morning, we tried to get through it as

9      quickly as possible.      He drove 15 hours --

10                THE COURT:    Mr. Smith, he won't be going on his

11     cruise, then, if you want to enforce the subpoena.             What in the

12     world can I do now?      I mean, the Government -- I think this

13     is --

14                MR. SMITH:    Your Honor, this has been cumulative

15     questioning outside the scope for the past 20 minutes, Your

16     Honor.    We're only asking for the right to a redirect

17     examination of our own witness, Your Honor.            Mr. Mulroe will

18     just run out the clock until 5:15.

19                THE COURT:    He is not -- this is -- I will listen to

20     objections about cumulativeness, but, I mean, this is within

21     the scope.    I don't know what to say.        I really don't know what

22     to say.

23                Mr. Mulroe, you may continue.

24                Look, we're going to go beyond 5:00 o'clock, and we

25     can go until 5:15 or 5:20.       Mr. Smith, I don't know what
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 127 of 216     14635




1      position this puts me in.       I don't know how I can just tell the

2      Government, well, stop your cross-examination now.

3                 MS. HERNANDEZ:     Your Honor, what's the point that

4      Mr. Mulroe is trying to make that they've been involved in

5      violent conduct?       I think he's made his point.

6                 THE COURT:    No, no.      We're not -- he's going to go

7      beyond that now.       We're talking about -- you see what's on

8      here.

9                 Mr. Mulroe, you may proceed.

10                I'll police relevance and cumulativeness as much as I

11     can.

12                MR. SMITH:    Thank you, Your Honor.

13                THE COURT:    Mr. Mulroe, how much -- what's your

14     good-faith estimate right now?

15                MR. MULROE:    I think, potentially, 30 minutes.               I'll

16     tell Your Honor, I'm not going to rush, but I'm not going run

17     out the clock either.      I intend to do cross-examination.

18                THE COURT:    Proceed, and I'll police this.

19          (Whereupon, the following proceedings were had in open

20     court:)

21     BY MR. MULROE:

22     Q.   At that meeting at the Airbnb, Mr. Nugent, some of what was

23     discussed was the tactics to be used the next day, correct?

24                MS. HERNANDEZ:     Your Honor, scope.

25                DEFENSE COUNSEL:     Asked and answered.
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 128 of 216   14636




1                  THE COURT:    Overruled.

2      BY MR. MULROE:

3      Q.   Discussed tactics for January 6th, right?

4      A.   Sure, yeah.

5      Q.   Discussed the use of radios?

6      A.   Yes.

7      Q.   Discussed breaking into small teams?

8      A.   Yes.

9      Q.   Discussed the time and the place to meet?

10     A.   Yes.

11     Q.   And you conveyed that to others who were not present at the

12     Airbnb, correct?

13     A.   Correct.

14                 MR. MULROE:   Scroll down just a bit, Ms. Rode.

15     BY MR. MULROE:

16     Q.   And here we have you sending a message:            Everyone needs to

17     meet at the Washington Monument at 10:00 a.m. tomorrow?

18     A.   Correct.

19     Q.   One thing that was really stressed at this meeting was that

20     everyone needed to follow the commands of leadership, correct?

21                 MS. HERNANDEZ:    Cumulative.

22                 THE COURT:    Overruled.

23     BY MR. MULROE:

24     Q.   Everyone needed to follow the commands of the leadership,

25     right?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23    Page 129 of 216   14637




1      A.   Correct.

2      Q.   Even if you didn't fully understand the plan they had in

3      mind, you were supposed to follow, right?

4      A.   Fair statement, yeah.

5      Q.   So the next day, you did go to the mall to meet at

6      10:00 a.m. at the Washington Monument, right?

7      A.   Yes.

8      Q.   And you didn't decide that, yourself.             The leaders decided

9      that, correct?

10     A.   Correct.

11     Q.   You passed the message along?

12     A.   Correct.

13     Q.   And I won't show you the video, but Mr. Smith showed you a

14     bunch of videos of you and Mr. Nordean in close proximity

15     throughout that morning, right?

16     A.   Correct.

17     Q.   You were near him for much of the day, right?

18     A.   Correct.

19     Q.   You tried to stay close?

20     A.   Correct.

21     Q.   Because you respected him?

22     A.   Correct.

23     Q.   You respected his leadership?

24     A.   Correct.

25     Q.   And you learned at some point that the leadership had
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 130 of 216   14638




1      decided you were no longer going to break off into small teams,

2      right?     You were going to march as one big group?

3      A.   For the time being, yeah.

4      Q.   And you were going to march as one big group to the

5      Capitol?

6      A.   Correct.

7      Q.   You said on direct examination that the plan was supposed

8      to be around the rally at the Trump speech.            But that's not

9      where the leadership took you, is it?

10     A.   No.

11     Q.   They took you to the Capitol, didn't they?

12     A.   Correct.

13     Q.   And that surprised you, didn't it?

14     A.   Fair enough, yeah.     I don't know if "surprise" is the right

15     word.

16     Q.   It wasn't what you expected, though?

17     A.   Right.

18     Q.   You told Mr. Smith that a whole lot of people were taking

19     photos of the group as you marched, right?

20     A.   Correct.

21     Q.   You enjoyed that, didn't you?

22     A.   What's that?

23     Q.   You enjoyed that, didn't you?

24                MR. SMITH:    Your Honor, relevance, scope.

25                THE COURT:    Sustained as to relevance.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 131 of 216   14639




1      BY MR. MULROE:

2      Q.   The reason people took photos is because normal patriots

3      looked up to the Proud Boys, right?

4                  MR. SMITH:   Objection.    Relevance.

5                  THE COURT:   Sustained.

6      BY MR. MULROE:

7      Q.   Did you feel famous that day on the Mall?

8                  MR. SMITH:   Objection to relevance.

9                  THE COURT:   Sustained.

10     BY MR. MULROE:

11     Q.   Mr. Nordean -- Mr. Nordean's lawyer, Mr. Smith, asked you

12     about a time when someone who said he was a pastor came up to

13     the group.    Do you remember that?

14     A.   Yes.

15     Q.   You said that this supposed pastor asked about going past

16     the barricades, right?

17     A.   Correct.

18     Q.   He approached the Proud Boys to ask him that question,

19     didn't he?

20     A.   Correct.

21     Q.   He knew that if he wanted to get that done, the Proud Boys

22     were the guys to do it?

23                 MR. SMITH:   Objection.    Speculation.

24                 THE COURT:   Sustained.

25     BY MR. MULROE:
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 132 of 216   14640




1      Q.    I'll show you Exhibit 1,000 at the 10 minute and 22 mark.

2                 MR. MULROE:    Do we have the sound?

3            (Whereupon, the exhibit was published in open court.)

4                 MR. MULROE:    Pause it there.

5      BY MR. MULROE:

6      Q.    You heard Mr. Nordean say:       We know what the oath is,

7      support and defend the Constitution of the United States

8      against foreign enemies and domestic.

9      A.    Correct.

10     Q.    Police officers not following their oath is something the

11     Proud Boys talked about a lot leading up to January 6th, wasn't

12     it?

13                MS. HERNANDEZ:     Scope.

14                THE WITNESS:    I can't be for certain.

15                THE COURT:    Overruled.

16     BY MR. MULROE:

17     Q.    What was your answer, Mr. Nugent?

18     A.    I can't tell you for certain.        I don't really remember.

19     Q.    That was something you yourself had discussed, correct?

20     A.    I believe so, yes.

21                MR. MULROE:    Can we have just for the witness 1418C?

22                And let's scroll down to bottom of the first page.

23     Let's hold it there.

24     BY MR. MULROE:

25     Q.    Do you recognize the message that you sent on
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 133 of 216   14641




1      December 13th, 2020?

2                 MR. SMITH:    Your Honor, objection.        Scope, relevance.

3                 THE COURT:    Overruled.

4      BY MR. MULROE:

5      Q.   Do you recognize that message?

6      A.   I mean, yeah, I definitely wrote it.

7                 MR. MULROE:    Move to admit 1418C.

8                 DEFENSE COUNSEL:     No objection.

9                 THE COURT:    Permission to publish is granted and

10     document will be admitted.

11          (Government Exhibit 1418C received in evidence.)

12     BY MR. MULROE:

13     Q.   So on December 13th, Mr. Nugent, you said:            We have to hold

14     some sort of moral high ground, though, and can't scream, "Fuck

15     the police ... yet ... but we need to hold them accountable.

16     We can't continue to not call them out on their bullshit.                We

17     can't continue to follow their orders while in the streets."

18          That's your message, isn't it?

19     A.   Correct.

20                MS. HERNANDEZ:     Objection.    Hearsay.

21                THE COURT:    Overruled.

22                MR. MULROE:    Go to the second page.        And scroll down a

23     bit.   Right there is good.      Up a bit, actually.        Just one more

24     message.    Maybe one more after that.

25     BY MR. MULROE:
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 134 of 216   14642




1      Q.   Here at the bottom of the first page, Uncle Mike says:              How

2      do we hold them accountable?

3           Right?

4      A.   Correct.

5                 MR. MULROE:    And scrolling down to Mr. Nugent's

6      message.

7      BY MR. MULROE:

8      Q.   You answered:     By calling out their bullshit.         Every single

9      police officer on the ground!         We don't shake their hands and

10     thank them.     We demand they do their fucking job and support

11     the oat --

12          Does that mean oath?

13     A.   Yeah, I believe so.

14     Q.   The oath they take to become an officer.           I want to get the

15     officer oaths and have them printed on postcards to hand to

16     them.   If they're higher up, I want them to uphold their oath.

17     It's their job at that point, and they are just acting as

18     Government goons.

19          So you had strong feelings about law enforcement and the

20     oaths that they were sworn to follow, correct, Mr. Nugent?

21     A.   That's a fair statement.

22     Q.   On January 6th, you were not the one making statements

23     about police's oaths, right?

24     A.   No.

25     Q.   The leaders did that, didn't they?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 135 of 216   14643




1      A.   Yeah.

2      Q.   As you-all walked around that day, you were not the one

3      making decisions where to go, correct?

4      A.   No.

5      Q.   The leaders made that decision, correct?

6      A.   Correct.

7      Q.   When it was time to get ready to leave the food trucks, you

8      weren't the one who decided to go back to the Capitol, correct?

9      A.   No.

10     Q.   The leaders decided that, correct?

11     A.   Correct.

12     Q.   You went to the location called Peace Circle, correct?

13     A.   Correct.

14     Q.   And the crowd there, once the Proud Boys arrived, started

15     getting very hyped up, right?

16     A.   The crowd, did you say?

17     Q.   The crowd, yes.

18     A.   Yeah, I believe so.

19     Q.   And very soon after you got there, the crowd that you were

20     part of pushed past barricades, didn't they?

21     A.   Yes.

22     Q.   And you weren't sure what to do at that moment?

23     A.   I -- no.

24     Q.   You felt shocked?

25     A.   Fair statement.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 136 of 216   14644




1      Q.   You felt shocked, but you still knew, like you testified,

2      that you were not supposed to go past the barriers, right?

3      A.   Correct.

4      Q.   So you had the figure out what to do?

5      A.   Correct.

6      Q.   So you fell back on the chain of command?

7      A.   Fair statement.

8      Q.   You compared the crowd to farm animals earlier, but people

9      aren't like animals, are they?

10     A.   Yes, they 100 percent are.

11     Q.   But people can make their own decisions, can't they?

12     A.   So can animals.

13     Q.   You made your own decisions on January 6th, didn't you?

14     A.   Yeah.

15     Q.   One of the decisions you made when that crowd started

16     surging forward was to turn to Rufio, correct?

17     A.   Correct.

18     Q.   You asked Ethan Nordean, are we doing this, right?

19     A.   I believe so, something along those lines.

20     Q.   And he just looked at you?

21     A.   I don't know exactly what totally came out, but yes.

22     Q.   And you asked him, are we going in?

23     A.   Again, I'm not totally sure, but yes, that sounds correct.

24     Q.   And he just looked at you?

25     A.   Sure.
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1      Q.   And then he moved forward toward the Capitol, didn't he?

2      A.   That -- that sounds about right.

3      Q.   And you went with him?

4      A.   Yes.

5                  MR. MULROE:   Can we have just for the witness 480W at

6      3 minutes and 5 seconds.

7                  And I think Mr. Smith knows the video.          If there's no

8      objection, I'll just move this in.

9                  THE COURT:    It will be admitted, and permission to

10     publish.

11          (Government Exhibit 480W received in evidence.)

12          (Whereupon, the exhibit was published in open court.)

13     BY MR. MULROE:

14     Q.   Let's start at 3:05 and play the first five seconds.

15          (Whereupon, the exhibit was published in open court.)

16     BY MR. MULROE:

17     Q.   Mr. Nugent, did you see on the video of yourself reaching

18     forward toward people in front of you?

19     A.   Yes.

20     Q.   Did you see Mr. Nordean rush past you on your right?

21     A.   Yes.

22                 MR. MULROE:   Let's keep playing to 3:16.

23          (Whereupon, the exhibit was published in open court.)

24     BY MR. MULROE:

25     Q.   Then you followed him, didn't you?
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1      A.   Yes.

2      Q.   You followed him because he was the leader?

3      A.   Yeah.

4      Q.   And what had been impressed upon you when you joined the

5      Ministry of Self-Defense was to follow the leaders, right?

6      A.   Sure.

7      Q.   And you didn't stop there.       You kept moving closer, didn't

8      you?

9      A.   Yes.

10                 MR. MULROE:   492X, please, at 30 seconds -- FX, 492FX,

11     my apologies.

12                 Let's play about 10 seconds or so of that.

13          (Whereupon, the exhibit was published in open court.)

14                 MR. MULROE:   Let's pause it there.

15     BY MR. MULROE:

16     Q.   Mr. Nordean is still leading you there, isn't he?

17     A.   Yes.

18                 MR. MULROE:   And pause at 36 seconds.

19     BY MR. MULROE:

20     Q.   He's leading you toward the Capitol, isn't he?

21     A.   Yes.

22     Q.   There's a bunch of others following behind you, right?

23     A.   Yes.

24     Q.   He didn't need to tell you to stay close, did he?

25     A.   What was that?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 139 of 216   14647




1      Q.   He didn't need to tell you to stay close, did he?

2      A.   No.

3      Q.   He brought you all the way up to the front of that crowd,

4      didn't he?

5      A.   I mean, I brought myself up there, but yeah.

6      Q.   With your hand on his shoulder in front of you?

7      A.   Yes.

8                  MR. MULROE:   Let's have 445BX, please.

9                  Play the first 13 seconds.      I think this is in, but

10     please correct me if I'm wrong.        445BX.

11                 First 13 seconds of that, please.

12          (Whereupon, the exhibit was published in open court.)

13     BY MR. MULROE:

14     Q.   Do you see your arm over there?        I just highlighted it on

15     the left side of the screen at 16 seconds, Mr. Nugent.

16     A.   Yes.

17     Q.   You were gesturing at the police, right?

18     A.   It appears so.

19     Q.   And Mr. Nordean was right there with you, wasn't he?

20     A.   Yes.

21                 MR. MULROE:   Play the video.

22          (Whereupon, the exhibit was published in open court.)

23     BY MR. MULROE:

24     Q.   Do you see Biggs there?

25     A.   Yes.
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 140 of 216   14648




1           (Whereupon, the exhibit was published in open court.)

2                  MR. SMITH:    Objection.    Cumulative.

3                  THE COURT:    Overruled.

4           (Whereupon, the exhibit was published in open court.)

5                  MR. MULROE:   Pause there.

6      BY MR. MULROE:

7      Q.   And at 39 seconds of the video, Mr. Nugent, Ethan Nordean

8      goes over to Joe Biggs, doesn't he?

9      A.   It appears so.

10     Q.   It was after that that the fence came down, right?

11     A.   It appeared so.      I'm not sure.

12     Q.   And after that fence came down, you followed the leaders

13     forward again, didn't you?

14     A.   I believe so.     I don't really know.

15     Q.   Well, you and Ethan and the other Proud Boys, or at least

16     some of the other Proud Boys, you got up to the very front

17     where a new police line was formed, right?

18     A.   Yes.

19                 MR. MULROE:   Can we have just for the witness 409B?

20     First -- just play the first few seconds.

21          (Whereupon, the exhibit was published in open court.)

22     BY MR. MULROE:

23     Q.   And you recognize that scene from the Capitol on

24     January 6th?

25     A.   Yes.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 141 of 216   14649




1                  MR. MULROE:   Move to admit 409B.

2                  DEFENSE COUNSEL:    No objection.

3                  THE COURT:    It is admitted, and permission to publish.

4           (Government Exhibit 409B received in evidence.)

5                  MR. MULROE:   We'll play that and pause at the

6      15-second mark, Ms. Rode.

7           (Whereupon, the exhibit was published in open court.)

8      BY MR. MULROE:

9      Q.   That's you there, right?

10     A.   Yes.

11     Q.   Now, it was around this time, Mr. Nugent, that you tried to

12     be the voice of the reason, right?

13     A.   Yes.

14     Q.   You actually always tried to be the voice of reason at

15     Proud Boys events, correct?

16     A.   I would say that's a fair statement.

17     Q.   And so here at the Capitol on January 6th, you got up to

18     the front where the officers were, and you told Ethan Nordean:

19     We need to get on a mic and control the crowd, right?

20     A.   That sounds about right.

21                 MR. MULROE:   Let's play -- Ms. Rode, let's skip to

22     2:48. Same exhibit, 409B, and we'll play from 2:48 to 2:56.

23          (Whereupon, the exhibit was published in open court.)

24     BY MR. MULROE:

25     Q.   And you even asked the police if they had a bullhorn you
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 142 of 216   14650




1      could use; do you remember that?

2      A.   Yes.

3                  MR. MULROE:   Let's play until 3:13.

4           (Whereupon, the exhibit was published in open court.)

5      BY MR. MULROE:

6      Q.   Mr. Nugent, you knew how much the people in that crowd

7      respected the Proud Boys, didn't you?

8      A.   Yes.

9      Q.   Nobody got on the bullhorn to control that crowd, did they?

10     A.   No.

11     Q.   It was pretty soon after that that you realized things were

12     getting really bad and that it was time to go, right?

13     A.   Yes.

14     Q.   And so one more time, you grabbed Ethan Nordean and you

15     told him that it was time to leave, right?

16     A.   I believe so.     I don't remember the exact details of

17     everything.

18     Q.   Well, you told him it was time to leave.            Whether you

19     grabbed him or not, you told him, we've got to go?

20     A.   Yeah.

21     Q.   And once more, he ignored you?

22     A.   I don't know if he ignored me or if he just didn't hear me

23     or what the pretext behind that was.

24     Q.   Well, if you thought he hadn't heard you --

25                 MR. SMITH:    Objection.    Asked and answered.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 143 of 216   14651




1                 THE COURT:    Overruled.

2      BY MR. MULROE:

3      Q.   If you thought he hadn't heard you, you would have repeated

4      yourself, correct?

5      A.   Potentially, correct.

6      Q.   This was an important statement, right?

7      A.   Correct.

8      Q.   Your perception was that he didn't want to listen to you?

9                 MR. SMITH:    Objection.    Speculation.

10                THE COURT:    Overruled.

11     BY MR. MULROE:

12     Q.   Right?

13     A.   I don't know.     With the chaos going on --

14     Q.   Do you remember telling the FBI on May 5th, 2022, that

15     Ethan Nordean didn't want to listen to you?

16     A.   I don't think those were my exact words, but I know there

17     was something along that line.

18     Q.   Something to that effect?

19     A.   Yeah.

20     Q.   This time, Mr. Nugent, you didn't stick with leadership,

21     right?

22     A.   Right.

23     Q.   This time, you made the decision on your own to get out of

24     there?

25     A.   Correct.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 144 of 216   14652




1      Q.   Because you knew you were breaking the law?

2      A.   Correct.

3      Q.   You knew the police wanted you to leave?

4      A.   Correct.

5      Q.   And you knew that this riot was interfering with law

6      enforcement?

7      A.   Correct.

8      Q.   And you knew that this riot was interfering with the

9      politicians inside that building?

10     A.   I wouldn't say -- at the time, no.         I didn't even really

11     realize what was going on inside the building.

12     Q.   Mr. Nugent, as angry as you were at the police, you knew

13     that things were going too far?

14     A.   Yeah.   That's a fair statement, yeah.

15     Q.   Because fighting the police is different than fighting

16     Antifa, correct?

17     A.   I'm -- sure, yeah.

18     Q.   Going up the against the government is different than going

19     up against BLM, right?

20                 MR. SMITH:   Cumulative, Judge.

21                 THE COURT:   Overruled.

22     BY MR. MULROE:

23     Q.   It's different when you're going up against the government,

24     right?

25     A.   Yes.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 145 of 216   14653




1      Q.    So you left?

2      A.    Correct.

3      Q.    But Ethan Nordean stayed?

4      A.    I believe so, yes.

5      Q.    And he wasn't worried about his hangover at that time, was

6      he?

7                 MR. SMITH:    Objection --

8                 THE COURT:    Sustained.

9      BY MR. MULROE:

10     Q.    And Joe Biggs stayed?

11     A.    I believe so, yes.

12     Q.    And a whole lot of other Proud Boys stayed, didn't they?

13     A.    I believe so, yes.

14     Q.    And things went even further after you left, didn't they?

15     A.    I believe so, yes.

16     Q.    You're aware that they breached more police lines?

17     A.    I wasn't there for that, so I mean...

18     Q.    You're aware a whole lot more stuff happened after you

19     left?

20                MR. SMITH:    Objection to cumulative.

21                THE COURT:    No.   Sustained as to speculation.

22     BY MR. MULROE:

23     Q.    Mr. Nugent, you left the Capitol, but you stayed in the

24     chats for some time, right?

25     A.    I believe, yes, that's a fair statement.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 146 of 216   14654




1                 MR. MULROE:    If we could have just for the witness

2      510N3.

3                 Zoom in on the top, please.

4      BY MR. MULROE:

5      Q.   This is another message from you to the Ministry of

6      Self-Defense Main 2, correct?

7                 THE WITNESS:    Yes.

8                 MR. MULROE:    Move to admit 510N3.

9                 MR. SMITH:    No objection.

10                Cumulative to direct and cross.

11                THE COURT:    It will be admitted, and permission to

12     publish.

13                Objection is overruled.

14          (Government Exhibit 501N3 received in evidence.)

15     BY MR. MULROE:

16     Q.   You told the other members of that chat:           Scrub all these

17     chats, correct?

18     A.   Correct.

19                MR. MULROE:    If we could scroll down just a bit.

20     Little more.     Little more.     Little more.

21     BY MR. MULROE:

22     Q.   You said:    Please wipe this chat!!

23          Correct?

24     A.   Correct.

25     Q.   And you cleaned up your phone after January 6th, right?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 147 of 216   14655




1      A.   Correct.

2      Q.   You had stuff on that phone that you just didn't think

3      anyone needed to see, correct?

4      A.   Correct.

5      Q.   You deleted these chats?

6      A.   Correct.

7      Q.   And you deleted the chats in the Ministry of Self-Defense

8      where Proud Boys were celebrating what happened at the Capitol?

9      A.   I mean, I left the chats.

10     Q.   Left the chat?

11     A.   Which deletes the chat.

12     Q.   You're aware, though, that in chose chats before you left,

13     there was celebration?

14     A.   Yes.

15     Q.   You're aware that Enrique Tarrio said he was proud of

16     you-all?

17     A.   I don't recall.

18                 MR. SMITH:   Objection.    Scope, cumulative.

19                 THE COURT:   Sustained as to cumulative.

20     BY MR. MULROE:

21     Q.   Mr. Nugent, how did it feel to see people celebrating

22     something you knew was wrong?

23                 MR. SMITH:   Objection.    Relevance.

24                 DEFENSE COUNSEL:    Object to scope.       As it relates to

25     January 6th?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 148 of 216   14656




1                 THE COURT:    Sustained as to relevance.

2      BY MR. MULROE:

3      Q.   Just one more line of questioning for you, Mr. Nugent.              As

4      a result of January 6th, you have received some unwanted

5      attention?

6      A.   As a result of January 6th?

7      Q.   After January 6th, you've received some unwanted attention?

8                 MR. SMITH:    Objection.    Relevance.

9                 MR. MULROE:    Goes to bias, Your Honor.

10                MR. SMITH:    Bias?

11          (Whereupon, the following proceedings were held at sidebar

12     outside of the presence of the jury:)

13                THE COURT:    Are you going to the threats?

14                MR. MULROE:    Yes.

15                THE COURT:    Okay.

16                MR. SMITH:    Biased in favor of whom?        That would lead

17     him to be biased against the defense.

18                THE COURT:    Why would there be bias there?

19                MR. MULROE:    Your Honor, the fact that he received

20     threats based on the perception that he was cooperating with

21     the Government and becoming a State's witness is relevant to

22     the type of testimony that he's giving in this proceeding.

23                MR. SMITH:    There's no tie to these defendants, Your

24     Honor.    We have no knowledge that that has anything to do with

25     these defendants.      So how can it be relevant to the defendant's
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23    Page 149 of 216   14657




1      state of mind if --

2                 THE COURT:     It's not about the defendant's state of

3      mind.   It's about his own bias.

4                 What I don't understand, I still don't understand, why

5      did it make him biased against the Government?

6                 MR. MULROE:    Because he thinks that if he gives

7      testimony that is not inculpatory, he will be in a better

8      position.

9                 THE COURT:     All right.    Let's quickly do it.

10                MS. HERNANDEZ:     Your Honor, 403.          403.   I mean, where

11     is this going?     403.

12                THE COURT:     Overruled.

13          (Whereupon, the following proceedings were had in open

14     court:)

15                THE COURT:     Overrule the objection.

16                You may proceed.

17     BY MR. MULROE:

18     Q.   After January 6th, Mr. Nugent, you received some unwanted

19     attention, that's right?

20     A.   Correct.

21     Q.   Some people believed that you were cooperating with the

22     Government, correct?

23     A.   Correct.

24     Q.   And as a result of that, there's been some pretty ugly

25     things said about you online, correct?
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 150 of 216   14658




1      A.   Correct.

2      Q.   Enough that you feared for your safety?

3      A.   Correct.

4      Q.   And your family's safety?

5      A.   Correct.

6      Q.   You've received threats from individuals associated with

7      the Proud Boys?

8      A.   Correct.

9      Q.   They told you you need to watch your back?

10     A.   Correct.

11     Q.   They said you got it coming for you?

12                MR. SMITH:    Objection, Your Honor.

13                THE COURT:    Overruled.

14                Let's wrap it up, Mr. Mulroe.

15     BY MR. MULROE:

16     Q.   Those include -- I'd like to show you one exhibit,

17     Mr. Nugent.

18                MR. MULROE:    Just for the witness, 1511.

19                MR. SMITH:    Your Honor, 403, cumulative, relevance,

20     scope.    We don't want to lose our ability --

21                THE COURT:    I understand.     I understand.

22     BY MR. MULROE:

23     Q.   Do you recognize this post, Mr. Nugent?

24     A.   I do.

25                THE COURT:    I'm going to sustain the objection on
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 151 of 216   14659




1      relevance and 403.

2      BY MR. MULROE:

3      Q.   Mr. Nugent, you are not a confidential human source for the

4      FBI, are you?

5      A.   No.

6      Q.   You were not used by the FBI to set people up for

7      January 6th, correct?

8                  MR. SMITH:   Objection.    Scope, relevance.

9                  THE COURT:   Overruled.

10     BY MR. MULROE:

11     Q.   A Proud Boy named Jeffrey Grace has accused you of turning

12     State's witnesses; is that right?

13                 MR. SMITH:   Objection.    Relevance, scope.

14                 THE COURT:   Overruled.

15     BY MR. MULROE:

16     Q.   Jeffrey Grace accused you of being a state's witness,

17     right?

18     A.   He's not a Proud Boy.

19     Q.   He's accused you of that?

20     A.   Yes.

21     Q.   A State's witness is a witness for the Government, right?

22                 MS. HERNANDEZ:    Objection.    Hearsay.

23                 THE COURT:   Overruled.

24     BY MR. MULROE:

25     Q.   A State's witness is a witness for the Government, right?
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 152 of 216   14660




1      A.   Correct.

2      Q.   You're not here as a State's witness; you're here as a

3      Defense witness, correct?

4      A.   Correct.

5      Q.   Do you think Jeffrey Grace appreciates the difference?

6                 DEFENSE COUNSEL:     Objection --

7                 THE COURT:    Sustained.

8                 MR. MULROE:    Thank you, Mr. Nugent.

9                 No further questions.

10                THE COURT:    Redirect.     From Counsel for Mr. Nordean.

11                               REDIRECT EXAMINATION

12     BY MR. SMITH:

13     Q.   Mr. Nugent, thank you.      You're leaving tomorrow to fly to

14     Florida, correct?

15     A.   At 4:00 a.m.

16     Q.   So if we don't wrap up by the time the trial proceedings

17     end today, we would be denied our ability to redirect

18     examination --

19                GOVERNMENT COUNSEL:        Object to relevance, 403.

20                THE COURT:    Sustained.

21     BY MR. SMITH:

22     Q.   You testified you were in close contact with Nordean

23     throughout the march on January 6th, 2021, correct?

24     A.   Correct.

25     Q.   And you testified you were not aware of any plan to use
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 153 of 216   14661




1      violence on January 6th, correct?

2      A.   Correct.

3      Q.   You were asked by Mr. Mulroe the question about strategy

4      and tactics, right?

5      A.   Correct.

6      Q.   And you testified about the chat where you mentioned a

7      goal.   Do you remember that one?

8      A.   Correct.

9      Q.   And you were asked about a chat, a January 5th chat, where

10     you mentioned a plan.      Do you remember that?

11     A.   Correct.

12     Q.   Do you have any reason at all to believe that the goal or

13     plan referenced included storming the Capitol?

14     A.   No.

15     Q.   Do you have any reason at all to believe that the goal or

16     plan involved using violence on January 6th?

17     A.   No.

18     Q.   Did anything about your experience on the march towards the

19     Capitol suggest that the group was planning to storm the

20     Capitol?

21     A.   No.

22     Q.   Did anything about the march suggest that they were

23     planning to use violence against members of Congress?

24     A.   No.

25     Q.   Against police?
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 154 of 216   14662




1      A.   No.

2      Q.   Was Nordean's comment that he wanted to go back to the

3      hotel with the food trucks consistent with a goal of storming

4      the Capitol?

5      A.   No.

6      Q.   Was Mr. Nordean's comment, after the initial breach, that

7      he wanted to go ahead and find the guys consistent with that?

8      A.   Can you put some context behind that?

9      Q.   Do you remember you testified about how near the time of

10     the first breach, you and Mr. Nordean had a conversation where

11     he indicated he wanted to go ahead and find the guys?

12     A.   Yeah.

13     Q.   Is that consistent with a plan on his part to storm the

14     Capitol?

15     A.   No.

16     Q.   You were asked about statements, generally, concerning

17     fighting and Telegram chats going back to 2020.

18     A.   Correct.

19     Q.   Do any of chose chats have any bearing on whether you

20     engaged in a plan to commit violence on January 6th,

21     specifically?

22     A.   Absolutely not.

23                GOVERNMENT COUNSEL:        Relevance of his opinion.

24                THE COURT:    Overruled.

25     BY MR. SMITH:
     Case 1:21-cr-00175-TJK   Document 721    Filed 03/23/23   Page 155 of 216   14663




1      Q.   Did any of those chats reflect planing with respect to

2      January 6th specifically?

3      A.   No.    They were referring to Portland and Seattle.

4      Q.   So not even the same coast, right?

5      A.   Correct.

6      Q.   So were there or were there not chats in the Proud Boys

7      Telegram groups that were meant facetiously, meant in jest?                Do

8      you know what that -- so --

9      A.   Can you repeat the question?

10     Q.   Yes.   Were there, in the Telegram chats that you were

11     testifying about, like the MOSD chat, do people sometimes make

12     chats in jest, as a joke, as opposed to sincere?

13     A.   Oh, yes, absolutely.

14     Q.   Were there a lot of chats like that made in -- as a joke?

15     A.   Yes, there were many.

16     Q.   Were there a lot of, kind of, chats that you would find

17     crazy in those groups?

18                 MR. MULROE:   Object to scope.

19                 MR. SMITH:    Your Honor, this is --

20                 THE COURT:    Overruled.

21     BY MR. SMITH:

22     Q.   Were there a lot of chats that you would find crazy if you

23     were to look in the MOSD group chat?

24     A.   I mean, I don't know, to be honest.           I don't really recall

25     a lot what was talked about directly.
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 156 of 216   14664




1      Q.   Well, you saw some comments about people using violence in

2      those chats, right?

3      A.   Correct.

4      Q.   Every time when you saw a chat related to violence, did it

5      end up happening that in the real word, there was violence used

6      against someone?

7      A.   Not every time, no.

8      Q.   Did it happen most of the time?

9      A.   I mean, I don't know.      That's kind of a broad question, I

10     feel.

11     Q.   Okay.    So you were shown a December 13th, 2020, chat from

12     you, saying you were always ready the fight.            Do you remember

13     that?

14     A.   Right.

15     Q.   Didn't you say in that chat before you determined whether

16     you were going to go to D.C. on January 6th, 2021?

17                MR. MULROE:    Object to leading.

18                THE WITNESS:    I'm unsure.

19                THE COURT:    Overruled.

20     BY MR. SMITH:

21     Q.   Do you remember whether the former president tweeted about

22     being in D.C. and being wild?

23     A.   I don't recall.

24     Q.   So when the prosecutor was asking you about references to

25     violence in the chats, do you recall him asking whether that
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 157 of 216   14665




1      was about offensive or defensive violence?

2      A.   He didn't ask that.

3      Q.   Were those -- so were those chats references to offensive

4      or defensive violence?

5      A.   I would say a majority of it being defensive violence.

6      Q.   Okay.   Did you ever see any chats from Mr. Nordean

7      indicating he wanted to use force offensively on January 6th,

8      2021?

9      A.   No.

10     Q.   Okay.   You were shown an image of people punching each

11     other; it looked like a cartoon.

12     A.   Correct.

13     Q.   Did that -- your possession of that chat mean to you that

14     you intended to commit violence on January 6th?

15     A.   No.

16     Q.   The Government -- you testified about turning your back on

17     cops.   You testified about a chat where you said -- where you

18     referenced turning our backs on cops.

19          Do you remember that chat?

20     A.   Correct.

21     Q.   That was from November 2020?

22     A.   Correct.

23     Q.   Was that a part of a plan to interfere with police on

24     January 6th, 2021?

25     A.   No.
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1      Q.    You were shown a chat from January 2nd that said:              Show

2      commie police we will not take their tyranny.

3            Do you remember that chat?

4      A.    I remember discussing it here.

5      Q.    Was that part of a plan to interfere with police?

6      A.    I don't believe so.

7      Q.    So you testified about the Proud Boys not wearing their

8      colors on certain occasions.          Remember that?

9      A.    Right.

10     Q.    Do you remember your testimony on direct about how

11     sometimes you would delete messages for fear of being doxxed by

12     groups like Antifa?

13     A.    Correct.

14     Q.    Would Proud Boys not wear colors for the same reason, that

15     they didn't want to be identified by people they were hostile

16     to?

17                  MR. MULROE:   Object to leading.

18                  THE COURT:    Sustained.

19     BY MR. SMITH:

20     Q.    Is it or is it not true that Proud Boys would decide not to

21     wear colors to avoid being seen by people that were hostile to

22     them?

23     A.    At times, yes.

24     Q.    Would that time include January 6th?

25     A.    Yes.
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1      Q.   So you were -- this is the final question.            You were asked

2      to testify -- I think you testified on direct that you were

3      asked by the Government to testify in the grand jury in this

4      case, correct?

5      A.   Correct.

6      Q.   You testified that the Government asked you to testify at

7      the grand jury, correct?

8      A.   Correct.

9      Q.   And you testified that you told the truth in the grand

10     jury, correct?

11     A.   Correct.

12     Q.   At any time after you testified for the Government in the

13     grand jury, did they inform you that your testimony was not

14     accurate?

15     A.   No.

16     Q.   Okay.   And you've testified that you have not been charged

17     with any crime related to January 6th, correct?

18     A.   Correct.

19                MR. SMITH:    Thank you.    That's all.

20                THE COURT:    All right.    Sir, you may step down.           Thank

21     you for your testimony.

22                Let me speak to counsel at sidebar very briefly.

23          (Whereupon, the following proceedings were held at sidebar

24     outside of the presence of the jury:)

25                THE COURT:    All right.    As I said, we had a little
     Case 1:21-cr-00175-TJK   Document 721   Filed 03/23/23   Page 160 of 216   14668




1      extra time here, but my plan is to just release them, instruct

2      them about media and all the rest.         And we can pick up with any

3      additional topics once they're released.

4                 Any objection to that?

5                 MR. SMITH:    No, Your Honor.

6                 THE COURT:    All right.    Very well.

7           (Whereupon, the following proceedings were had in open

8      court:)

9                 THE COURT:    Ladies and gentlemen, a few scheduling

10     notes before I release you.       To remember -- I think I mentioned

11     this before, but I want to make sure I did.            Both tomorrow and

12     Thursday, we will only go half a day.          We will go the morning

13     tomorrow and Thursday.      Friday it appears like we'll have

14     mostly a full day.      So that's a change from most Fridays.            So I

15     just wanted you-all -- to let you know that.

16                As we get closer, I'll firm up the details on Friday,

17     but it looks like it will be, for the most part, a full day on

18     Friday.    Tuesday and Thursday, half days only.

19                As usual, please avoid all media coverage regarding

20     January 6th and specifically regarding this case.             Don't

21     conduct any independent investigation on your own, and do not

22     discuss the evidence in the case with anyone.

23                Thank you.    We'll see you tomorrow.

24          (Whereupon, the jury exited the courtroom and the following

25     proceedings were had:)
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1                 THE COURT:    Everyone may be seated.        Let's just wait

2      for Ms. Harris to come back in.

3                 All right.    So have -- do the defendants have any more

4      clarity about the order in which we will proceed?

5                 MR. PATTIS:    We will tomorrow morning, Judge.          And one

6      reason for that is that we have made a request, several of us,

7      of the Government for information relating to CHS.             My

8      understanding is we need to meet and confer about the status of

9      that.

10                From Mr. Biggs's perspective, we may ask for Wednesday

11     off, depending on what happens, because we've made a fairly

12     comprehensive request, but will report about that tomorrow

13     morning.

14                THE COURT:    All right.    Let me put it this way.           I am

15     not -- let me put it this way.

16                MR. PATTIS:    Is that you're way of saying, Good look,

17     Mr. Pattis?

18                THE COURT:    I think it is unlikely that I would give

19     you-all Wednesday off, as much as I understand everyone wanting

20     that.   Particularly since, for reasons out of all of our

21     control, we have half of Tuesday and half of Thursday off, as

22     it is for juror-related reasons.        If that means -- so --

23                MR. PATTIS:    Depending on what we learn, we may or may

24     not make the application.       I have good reasons for it,

25     potentially, but I'll save them until I have to complete --
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1                 THE COURT:     All right.     Might that also affect -- in

2      other words -- well, I don't want -- it sounded like you-all

3      were talking about another defendant going ahead of you.                    In

4      which case, if you wanted to make that application and let that

5      play out, perhaps you would just pass the baton to another

6      defendant.    But I don't know if that's --

7                 MR. PATTIS:     Let us talk to the Government, Judge?

8                 THE COURT:     All right.     We'll just table it and take

9      it up tomorrow.

10                MR. JAUREGUI:     And, Judge, we're all working very hard

11     together to try to make this as fast and as efficient as

12     possible.    That's why we stepped up, if need be, to start our

13     case.

14                But I will tell you -- and I think I'm in my third or

15     fourth email.     The Government can correct me.            I've been asking

16     the Government for the FBI agent assigned to the Lamond case,

17     the actual FBI agent that reviewed Lamond's extractions.                    I've

18     sent three or four emails -- yes, I have.                I see some shaking

19     of the head over there.        I can count them.         I can print them

20     from the computer.

21                And I'm waiting.      I did speak to Ms. Valentine and

22     Mr. Kenerson this afternoon.           We're working together.        I'm

23     going to identify some chats for them to see if, perhaps we can

24     even stipulate.        But I wanted to inform Your Honor, because if

25     we can't stipulate, then I am going to need that witness from
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1      the Government.

2                 THE COURT:    A stipulation in this case.         Hope springs

3      eternal.

4                 All right.    So, look, it sounds like, given all the

5      flux, we'll just take it up first thing tomorrow.

6                 I just want to -- one other thing in everyone's -- on

7      everyone's radar, that Mr. Kenerson and I sort of had a

8      discussion about in open court earlier, but I'm not sure

9      everyone was listening.

10                I think it might be a productive way to spend the

11     second half of Thursday for -- maybe not the whole time -- but

12     for me to hear you on those points of the jury instructions

13     that you-all want to be heard on.         There's a lot of that that I

14     think is not worth discussing.        I mean, I think a lot of it you

15     agree on.    But there are some key things, First

16     Amendment-related things, the 1512 instruction, that it may

17     make sense for me to hear you on.

18                It seems to me, I wouldn't necessarily pick Thursday,

19     but we have that time.      It may be a good time to do that.            So I

20     just put that all on your radar as something that it may make

21     sense to do Thursday afternoon.        I don't want to -- it sounds

22     like -- this is all evolving in terms of what your -- you know,

23     which defendant is going to go next.

24                I don't want to necessarily say for sure, but I think

25     it may make -- it may be a valuable use of our time on Thursday
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1      afternoon for some period.

2                 Anything else before we adjourn for the day?            All

3      right.    See you all tomorrow at 9:00.

4           (Proceedings concluded at 5:12 PM)

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                           C E R T I F I C A T E



             I hereby certify that the foregoing is an accurate

             transcription of the proceedings in the above-entitled

             matter.




                             Stacy Heavenridge, RPR
                             Official Court Reporter
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                             Stacy_Heavenridge@dcd.uscourts.gov
                                                                           14674
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14600/3 14600/10 14600/18 00175 [1] 14509/4            16 minutes [1] 14520/23
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14613/10 14614/2 14615/15 1                            17 minutes [1] 14538/4
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2nd [3] 14606/23 14607/2    445BX [2] 14647/8 14647/10 5th at [1] 14632/7
 14666/1                    45 minutes [1] 14536/19         5th chat [1] 14661/9
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3                           452F [1] 14536/11
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3 hours [2] 14538/1 14538/2 4700-A [1] 14511/3
3 minutes [1] 14645/6       480W [3] 14511/14 14645/5 6 minutes [1] 14518/24
30 [2] 14556/2 14612/21      14645/11                       6 seconds [1] 14519/18
30 minutes [1] 14635/15     492FX [2] 14529/6 14646/10 601-24 [1] 14612/13
30 seconds [2] 14542/11     492G [1] 14531/9                603-30 [1] 14612/21
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34 seconds [1] 14529/12
345 [2] 14526/6 14526/7     5 seconds [2] 14521/2            14556/17 14565/25 14571/23
35 minutes [1] 14522/14      14645/6                         14572/7 14574/17 14574/21
36 seconds [1] 14646/18     50 [1] 14556/2                   14580/13 14583/23 14585/6
383 [1] 14510/6             50 minutes    [1]  14523/22      14585/8 14586/3 14590/5
39 seconds [1] 14648/7      501N2 [1] 14511/15               14593/2 14593/14 14593/21
3:03 [1] 14581/9            501N3   [2]  14511/16  14654/14  14599/21 14600/15 14600/15
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